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Message

From:        Spencer Brush [Spencer.Brush@aIliant.com]
on behalf of Spencer Brush <Spencer.Brush@alliant.com> [Spencer.Brush@all iant.com]
Sent:        8/5/2020 5:08:32 PM
To:          CHAMBERS, JESSICA [JCHAMBERS@HANOVER.COM]
CC:          ANCHETA, ELIZA F [EANCHETA@HANOVER.COM]; Lisa Kavanagh [Lisa. Kavanagh@alliant.com]; Jared Finney
             [Jared.Finney@alliant.com]
Subject:     Broker of Record I Opera Plaza
Attachments: Opera Plaza BOR - executed - Hanover.pdf



Jessie,

Please process the attached BOR for Opera plaza package and WC policies.

Any questions please let me know.

Spencer Brush

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        To: Spencer Brush, VP Sales Consultant
                Alliant Insurance Services
        From: Patricia Klock, General Manager'
        Date; 8/5/2020
        Re: Engagement


        Opera Plaza Master Owners Association, Opera Plaza Residential Parcel HOA
        and. Opera Plaza LP have authorized me to notify you the dies have agreed
         to transfer the insurance services to Alliant Insurance Services effective
         immediately,




        With our renewal of October 1, 2020, I will make myself available to expedite
        whatever documents or information you may need at this time.




p 1oc   '.oe       com 415474O317 601 Van Ness Avenue Ste 2045 San Francisco, CA 94102

                                                                                      ALLIANT_00001204
                                                                                ALL IANT_00001204_CA
   Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 270 of 377
                   j}                              v




                        MASTER OWNERS ASSOCIATION



August 5, 2020


Broker- of Record Authorization

To Whom It May Concern:

This confirms that effective immediately, we have appointed Alliant Insurance Services,
Inc. as our exclusive insurance broker with, respect to our property and casualty insurance
program. The appointment of Alliant Insurance rescinds all previous appointments, and
the authority contained herein shall remain in full force until canceled in writing.

.Alliant Insurance is hereby authorized to negotiate directly with any interested company as
respects changes in existing insurance policies and in closing, changing, increasing or
canceling insurance carried under temporary binders or cover notes. We understand,
however, that they will not share responsibility for any return premiums and/or
commissions due on coverage not placed by them, nor for any deficiencies in the insurance
program to which this letter applies until they have had a reasonable opportunity to make
a review and to provide us with their recommendations.

This letter also constitutes your authority to furnish the representatives of Alliant Insurance
with all information they may request as it pertains to our insurance contracts, rates, rating
schedules, surveys, reserves, retentions and all other financial data they may wish to obtain.
for their study of our present and future requirements in connection with the insurance
program to which this letter applies. We request that you do not communicate such
information to anyone else.

We further ask that you waive the 1Oaday waiting period.


Sincerely,



Ptricia Klock, General Manager                                       Package Policy ZHFD04871003
Opera Plaza Master Owners Association,
                                                                     Workers Compensation WBFD69825501
Opera Plaza Residential Parcel HOA,
Opera Plaza LP



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                 G€11 VAN NESS% AVENUE SAN FRANCCSC , CAAFORNIA 94102 (415) 474.0317



                                                                                          ALLIANT_00001205
                                                                                       ALLIANT 00001204 CA
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 271 of 377




                   Exhibit 35
                    Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 272 of 377
Message

From:               Bernadette Heater [Bernadette.Heater@alIiant.com]
on behalf of        Bernadette Heater <Bernadette.Heater@alliant.com> [Bernadette.Heater@alliant.com]
Sent:               7/21/2020 9:16:11 AM
To:                 David Erice [David.Erice@alliant.com]
Subject:            FW: Broker Letter for In-Shape Health Clubs




I just received another BOR. Can you please enter into EPIC and I'll work on sending out to carriers? They included their
list of policies so it helps.

Thanks,

Bernadette Heater
Account Executive

Alliant Americas
575 Market Street
Suite 3600
San Francisco, CA 94105

C 415 595 5426

W alliant,com

                t
CA License No. OC36861
Alliant Insurance Services, Inc.




From: Gina Aaron [mailto:Gina.Aaron@inshape.com]
Sent: Tuesday, July 21, 2020 9:06 AM
To: Bernadette Heater <Bernadette.Heater@alliant.com>
Subject: RE: Broker Letter

This message has originated outside the organization.



Hi Bernadette,

See attached signed letter.

Thanks,



GINA AARON
VICE PRESIDENT OF PEOPLE OPERATIONS
6 S. El Dorado St Ste 600 Stockton, CA 95202
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                                                                                                          ALLIANT_00003195
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                                   Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 273 of 377
P: 209.922.0006 1 M: 209.966.9211


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str oIy pro,lh ted.




From: Bernadette Heater <Bed.nadettea[.Heater alliant.co!^~t>
Sent: Tuesday, July 21, 2020 6:45 AM
To: Gina Aaron <t ina" .aron€; insha ie.cotii>
Subject: RE: Broker Letter




Yes, please sign and send to me. I'll send you an invite for 9am.

Thanks again,
Bernadette




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                            vr is intended to be legal. financial, or tax advice, and re::ipierrts are advised i:£3 consult. With their
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From: Gina Aaron [t^~ailto:(:Dina.. aro:i(. insl arie.com1
Sent: Monday, July 20, 2020 6:16 PM
To: Bernadette Heater <Bernadette"Heater@; alliant,com>
Subject: RE: Broker Letter

This message has originated outside the organization.

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Hi Bernadette,
So at this time, should I sign and send the letter to you tonight?

For tomorrow, I can do 9am, 11am or 4pm. If any of those work for you.

Thanks so much!




                                                                                                                                                                                                                                                             ALLIANT_00003196
                                                                                                                                                                                                                                                           ALLIANT_00003195_CA
                              Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 274 of 377


GINA AARON
VICE PRESIDENT OF PEOPLE OPERATIONS
6 S. El Dorado St Ste 600 Stockton, CA 95202
Grua_ _arr n; inshape.cor m
P: 209.922.0006 1 M: 209.988.9211




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strictly prohibited.




From: Bernadette Heater <ffer        rradet:te.Heat:er <allt; rrt.co i>
                           _........................_.....---........................................._..................
Sent: Monday, July 20, 2020 6:08 PM
To: Gina Aaron <Gina. .arr r.€ ?insl~ape.ro€~~>
Subject: RE: Broker Letter




Thanks Gina!

The changes are absolutely ok.

Let me know a good time to talk tomorrow and I can describe the process and what to expect.

Thanks again,

Bernadette Heater
Account Executive

Alliant Americas
575 Market Street
Suite 3600
San Francisco, CA 94105

C 415 595 5426
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W allianL.com



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Alliant Insurance Services, Inc.




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From: Gina Aaron [r"€Iailto:Gina.Aaron@insha ^e.co€ ]
Sent: Monday, July 20, 2020 5:45 PM
To: Bernadette Heater <Berr# ¢t tt . [eat rC ; llianLc;. € >
Subject: RE: Broker Letter

This message has originated outside the organization.



Hi Bernadette,
Hope you had a great day!

We have decided to make the move to Alliant.

Please see the attached BOR letter (I made some adjustments to the layout since the list of policies is almost a page long
itself).

Would you please take a look and let me know if you are ok with my changes, at which point I will sign and then we can
discuss next steps.

Thank you,



GINA AARON
VICE PRESIDENT OF PEOPLE OPERATIONS
6 S. El Dorado St Ste 600 Stockton, CA 95202
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P: 209.922.0006 1 M: 209.988.9211




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From: Bernadette Heater <Ber€nadett:e.                               eaater@allia€nt.. :om>
                           ....................................................................................................
Sent: Thursday, July 16, 2020 4:05 PM
To: Gina Aaron < na.A ron in lta e, .o€ >; Sean Maloney <asan.Maione'C7insha~so.cc n >; Tiffany Blair
<Tifi =€ iy a!r '€ s ape o >; Francesca Schuler <fr --------                                              at -; sc a,sch       -- ---- ler u i asl----...-ape, or~ >
Subject: RE: Broker Letter




                                                                                                                                                                   ALLIANT_00003198
                                                                                                                                                             ALLIANT_00003195_CA
                          Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 276 of 377




Hi Gina,

Checking to see if there a good time for us to have a call tomorrow.

Thanks much,
Bernadette




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From: Bernadette Heater
Sent: Tuesday, July 14, 2020 3:46 PM
To: 'Gina Aaron' < pa.Aaronf insha e,com>; Sean Maloney <Sea€ I xa lonevi2.7inshape.corn>; Tiffany Blair
<1iff ..y. .a.€€:(. €.i 3 a e,com>; Francesca Schuler <fl.aince ca.schuler:.PI.€I shhape.comm>
Cc: Bernadette Heater <Berr`radetl:e,Heater@alliani:.c:ona>
Subject: RE: Broker Letter

Thanks Gina,

I'm trying it in a tadf format, Does this work?

Yes, I'm available for a call anytime. Let me know a good time for you.

Thanks much,

Bernadette Heater
Account Executive

Alliant Americas
575 Market Street
Suite 3600
San Francisco, CA 94105

C 415 595 5426



From: Gina Aaron [r:~ailto:(: ira..arori( ir€slarie,com]
Sent: Tuesday, July 14, 2020 3:34 PM
To: Bernadette Heater <Ber€nadette.Heater@)alliant,com>; Sean Maloney                                                                                                                          e.com>; Tiffany Blair
<Tiffany.. lair inshape co >; Francesca Schuler <francesca.sC l .r insha. a s:                                                                                  >
Subject: RE: Broker Letter


This message has originated outside the organization.




                                                                                                                                                                                                         ALLIANT_00003199
                                                                                                                                                                                                   ALLIANT_00003195_CA
                       Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 277 of 377

Hi Bernadette,
I could not open the attachment. Would you please resend?

Do you have some time on Thursday or Friday to connect and discuss some questions?

Also, re-adding Francesca, e-mail address was missing a letter.

Thank you,



GINS AARON
VICE PRESIDENT OF PEOPLE OPERATIONS
6 S. El Dorado St Ste 600 Stockton, CA 95202
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P: 209.922.0006 1 M: 209.988.9211




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are not the intended recipient, you are notified that disclosing, copying, distributing or takin any action in reliance on the contents of          this
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From: Bernadette Heater <Bernn<adtetl:e.Heatert                                                  °alliannt:.c:or m>
                                  ....................................................................................................
Sent: Tuesday, July 14, 2020 2:02 PM
To: Sean Maloney <' ar3.ly loney ?inri ape. r >; Gina Aaron <Siva.tea€ronrrz inshar e.com>;
(ra€ a;e s;ra s= aler rar las at .s;i_am; Tiffany Blair <-€ 'Bari                                                        lralr :~ in 3x3 e.c m>
Cc: Bernadette Heater <Bernadette.Heater@alliant.co€ m>
Subject: Broker Letter




Sean,

Thanks for your time this morning. Per our discussion, attached is the Broker of Authorization letter for In-Shape to
transfer to company letterhead, sign and return. If you have the policy data available to complete the boxes, you can fill
them in. If not, we can easily fill that in by hand with your approval.

I'm happy to have a call to discuss any questions.

Thanks again,

Bernadette Heater
Account Executive

Alliant Americas
575 Market Street
Suite 3600




                                                                                                                                                    ALLIANT_00003200
                                                                                                                                                  ALLIANT_00003195_CA
                            Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 278 of 377
San Francisco, CA 94105

C 415 595 5426
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Allant Insurance Services, Inc.



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      Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 279 of 377




June 21, 2020

Broker of Record Authorization

To Whom It May Concern:

This confirms that effective immediately, we have appointed Alliant Insurance Services, Inc. as
our exclusive insurance broker with respect to our property and casualty insurance program. The
appointment of Alliant Insurance rescinds all previous appointments, and the authority contained
herein shall remain in full force until canceled in writing.

Alliant Insurance is hereby authorized to negotiate directly with any interested company in
respect to changes in existing insurance policies (per Attachment 1 attached) and in closing,
changing, increasing or canceling insurance carried under temporary binders or cover notes. We
understand, however, that they will not share responsibility for any return premiums and/or
commissions due on coverage not placed by them, nor for any deficiencies in the insurance
program to which this letter applies until they have had a reasonable opportunity to make a
review and to provide us with their recommendations.

This letter also constitutes your authority to furnish the representatives of Alliant Insurance with
all information they may request as it pertains to our insurance contracts, rates, rating schedules,
surveys, reserves, retentions and all other financial data they may wish to obtain for their study
of our present and future requirements in connection with the insurance program to which this
letter applies. We request that you do not communicate such information to anyone else.

We further ask that you waive the 10-day waiting period.


Sincerely,




Gina Aaron, VP People Operations
IN -SHAPE HEALTH CLUBS, LLC
Gina.aaron Zbinsha e.com
Direct: (209) 022-0006
Mobile: (209) 988-9211




                 6 S. El Dorado St,, Suite 600, Stockton, CA 95202. (209) 472-2231 * inshape.com



                                                                                                     ALLIANT_00003202
                                                                                                   ALLIANT_00003202_CA
      Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 280 of 377




                                                    Attachment 1

Carrier                         Type of Coverage                        Policy Number (s)                   Policy Term
Philadelphia Indemnity
                                Property                                  PHPK2128221                     5/1/20-5/1/21
Insurance Co
Zurich American
(Venture Programs,              General Liability                        GLO 5537294-00                  4/30/20-4/30/21
Inc.)
  -------------------------
Zurich American
(Venture Programs,              Automobile Liability                     BAP 5537295-00                  4/30/20-4/30/21
Inc.)
Federal Insurance Co            Excess Liability                             93649391                    4/30/20-4/30/21
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                                            -
                                                -
AmTrust North America           Worker's Compensation                      SNP1291385                    4/30/20-4/30/21
                                CyberRisk, Crime, Kidnap
Travelers                                                                   105878648                    4/30/20-4/30/21
                                & Ransom
Hanover Insurance Co            Builders Risk                            IHF A415546 09                  4/30/20-4/30/21
Underwriters of Lloyd's
                                Executive Package - EPLI                     MR203488                    4/30/20 — 4/30/21
of London
Steadfast Insurance Co          DIC- Primary                               BPP9647208                    4/30/20-4/30/21
OBE Specialty Insurance
                                DIC - Excess                               ESE18313-00                   4/30/20-4/30/21
Co
Argonaut Insurance Co           D&O - Primary                              ML7601955-4                   4/30/20 — 4/30/21
                                                                                                               -- - -- --
Markel American
                                D&O — Excess 1                        MKLM3MXM000150                     4/30/20-4/30/21
Insurance Co
Endurance Risk
                                D&O — Excess 2                          MPX30001688400                   4/30/20 — 4/30/21
Solutions Assurance Co
Hudson Specialty
                                D&O — Excess 3                            HS-0303-6443                   4/30/20-4/30/21
Insurance Co




                  6 S, El Dorado St,, Suite 600, Stockton, CA 9202 , l2i 9) 472-2231   0   inshaae.com



                                                                                                             ALLIANT- 00003203
                                                                                                           ALLIANT_00003202_CA
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 281 of 377




                   Exhibit 36

 Exhibit Filed Under Seal
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 282 of 377




                   Exhibit 37

 Exhibit Filed Under Seal
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 283 of 377




                   Exhibit 38

 Exhibit Filed Under Seal
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 284 of 377




                   Exhibit 39

 Exhibit Filed Under Seal
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 285 of 377




                   Exhibit 40
                        Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 286 of 377
Message

From:                   Jay Fischer [Jay.Fischer@alliant.com]
on behalf of            Jay Fischer <Jay.Fischer@alliant.com> [Jay.Fischer@alliant.com]
Sent:                   7/9/2020 3:41:34 PM
To:                     Trish Alvendia [Trish.Alvendia@alliant.com]
Subject:                RE: Re: visitor list



Monday:
Don Tarantino
Tory Tarantino
Taylor Tarantino
Bernadette Heater

Tuesday
Brian Selna
Maybe more, I will keep you posted..

Also, I may have some papers printed off, please put in the conference room with the computers and lastly, IF, we have
the Alliant: Branded Masks, throw 6 in the conference room

Jay Fischer
    ir   r,r President
Director, Operations i Alliant Americas
AL 1:: Insurance. Services Inc.
Ph:
wwwallar-`..c-.<m

CA License No. OC:36861




From: Trish Alvendia
Sent: Thursday, July 9, 2020 2:04 PM
To: Jay Fischer <Jay.Fischer@alliant.com>
Subject: Re: visitor list


Ili Jays,

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Best,

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                   Exhibit 41
                Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 289 of 377
Message

From:          Pam Tabert [ptabert@alliant.com]
on behalf of   Pam Tabert <ptabert@alliant.com> [ptabert@alliant.com]
Sent:          7/13/2020 12:57:48 PM
To:            Bernadetteheater@gmail.com
BCC:           gabi.nguyen@alliant.com; jay.fischer@alliant.com; sarah.tighe@alliant.com
Subject:       Alliant Insurance Services, Inc - Offer of Employment
Attachments:   Offer Letter-Bernadette Heater.pdf

Importance:    High

Dear Bernadette,

On behalf of Alliant Insurance Services, I am pleased to extend the attached offer of employment to you. Your pre-
employment process will be conducted entirely online as a way for us to reduce consumable materials and apply positive
environmental practices. If you accept, please sign, date and return your offer letter to   alliapt.com or fax to 949-809-
1475 by the requested date on the letter.

Step 1:
You will receive a separate email from our trusted background vendor, HireRight. Upon accepting the offer of
employment, initiate your background screen (REQUIRED) by following the steps indicated in the HireRight email. Please
note that this email may potentially land in your junk/spam folder depending on your personal email user preferences.

Step 2:
You will receive a second email from the Alliant Insurance HR Department that includes a link to our Onboarding Portal
to complete your pre-hire documents online. In the portal, you will also be able to access other information, such as our
Benefits Booklet and Employee Handbook This step is time sensitive and we ask that you complete this step within the
next 5 days. If your start date is within 2 weeks of receiving your offer of employment, we ask that you complete this step
immediately. This will ensure that you wil l be set up in our systems on your first day.




If you have any questions or encounter any technical difficulties, please reach out to an HR team member at
  ri l iajt_ruq__r~ or (888) 324-7471.
Best regards,
Pam Tabert
Assistant Vice President
Recruitment Team Lead, CIR, CDR, CSSR
Human Resources
Alliant Insurance Services, Inc.

1301 Dove Street
Suite 200
Newport Beach, CA 92660

D 949 260 5005
C 949 258 2861
F 949 809 1475
www.alliant.com

CA License No. OC36861


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Connect with me on LUnkethn, click here.




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                                                                       ALLIAN T_00004942_CA
               Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 291 of 377




           July 13, 2020


           Ms. Bernadette Heater
           406 Acacia Street
           Fairfield, CA 94533

           RE: Conditional Offer of Employment

           Dear Bernadette:

           On behalf of Alliant Insurance Services, Inc., it is my pleasure to offer you the full-time position of Account
           Executive - Lead in our San Francisco (Market Street) office, initially working from your home office in
           Fairfield, CA. Your start date will be Monday, July 13, 2020, and you will report to Jay Fischer, Senior Vice
           President, Director, Operations. This offer and your employment relationship will be subject to the terms
           and conditions of this letter.

           Your compensation will be as follows:

           Compensation:      You will earn an initial base salary at the biweekly rate of $7,115.39 to be paid in
                              accordance with the company's normal payroll practices, less required payroll deductions
                              and tax withholdings. This position is an "exempt" position, which means you are paid
                              based on the job and not by the hour. Accordingly, you will not receive overtime pay if
                              you work more than 8 hours in a workday or 40 hours in a workweek. Future adjustments
                              to your initial compensation will be at the company's discretion.

           Benefits:          You will be eligible on the first day of the month following your start date for customary
                              and usual group health benefits as are generally afforded to other employees in your job
                              classification who are employed by Alliant Insurance Services, in accordance with the
                              company's benefit plan provisions. Currently, our benefits package includes medical,
                              dental, basic life, AD&D, flexible spending accounts and a variety of voluntary benefits
                              options. Additionally, you will be eligible to join Alliant's 401(k) Savings and Investment
                              plan the first of the month following your start date. You will be auto-enrolled at 4% upon
                              thirty (30) days of employment if you have not already enrolled or indicated your intent to
                              opt out at that time.

           Incentive:         You will be eligible to participate in the Brokerage Services Account Executive Incentive
                              Plan. Incentive plan objectives will be established at the time of hire.

           Your employment with Alliant Insurance Services will be "at will." This means your employment is not for
           any specific period of time and can be terminated by you or Alliant Insurance Services, with or without cause
           or advance notice. In addition, we reserve the right to modify your position, duties, and compensation to
           meet business needs and to use discretion in deciding on appropriate discipline.

           This offer is contingent upon the following:

                    •   The execution of an Arbitration Agreement by you and Alliant Insurance Services in a form
                        acceptable to the company:

                    •   Your execution of a Confidentiality Agreement in a form acceptable to the company;

                    •   Your compliance with federal I-9 requirements (please bring suitable documentation with you
                        on your first day of work verifying your identity and legal authorization to work in the United
                        States); and




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                    •    Our verification of the information contained in your employment application, including
                         satisfactory references and background checks.

           This letter supersedes all prior or contemporaneous agreements, understandings, negotiations or
           representations, whether oral or written, express or implied, on this subject.

           To indicate your acceptance of our offer based upon the terms and conditions set forth in this letter, please
           sign and date in the space provided below and scan it to Human Resources at is alliant.cnm or fax to (949)
           809-1475 no later than Monday, July 13, 2020.

           You will receive orientation upon hire with an HR Representative.

           We hope your employment with us will prove mutually rewarding, and we look forward to having you join
           our team. If you have any questions, please feel free to contact me directly.

           Sincerely,



           l#`sa D. Kaucher
           First Vice President, Human. Resources

           I have read this offer letter in its entirety and agree to the terns and conditions of employment. I understand
           and agree that my employment with Alliant Insurance Services will be at-will. In addition, I confinn that I
           do not have in my possession, custody, or control any materials or information belonging to my former
           employer. I understand that Alliant expressly prohibits the unauthorized use or disclosure of any confidential
           or proprietary information and such conduct is subject to disciplinary action up to and including termination
           of employment.



           Signature:
                                        Bernadette Heater



           Confirmed Start Date:
                                                 Day (M-F)                   Date




                        Alliant Insurance. Services, Inc, « 1301 Dove Street, Ste 200» Newport Beach, CA 9_`660
                        in : r_ar r (;818) 324-7471 ¢ r7vy (941) 809-147S      .alliant.eum « License <o. 0 ;3 t,



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                   Exhibit 42

 Exhibit Filed Under Seal
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                   Exhibit 43
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                   Exhibit 44
                          Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 299 of 377
Message

From:                     Jim Col lins [jcollins@baf.com]
on behalf of              Jim Col lins <jcollins@baf.com> [jcollins@baf.com]
Sent:                     7/21/2020 3:29:18 PM
To:                       Bernadette Heater [Bernadette.Heater@alIiant.com]
CC:                       Mandy (Amanda) Neel [MNeel@baf.com]
Subject:                  RE: Signed BOR




From: Bernadette Heater <Bernadette.Heater@aIliant.com>
Sent: Tuesday, July 21, 2020 3:18 PM
To: Jim Collins <jcollins@baf.com>
Cc: Mandy (Amanda) Neel <MNeel@baf.com>
Subject: RE: Signed BOR

Do you want to mention that the broker placement is being transition to Alliant effective 7/21/2020 and the services
agreement will go until 8/20/2020? 1 think it may be important to differentiate those two.




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From: Jim Collins [€ ilto: c llir€s@)baf.com]
Sent: Tuesday, July 21, 2020 3:01 PM
To: Bernadette Heater <Bernadel:t:e.He;ter@alliant,.corn1>
Cc: Mandy (Amanda) Neel <MNeel@baf.com>
Subject: RE: Signed BOR

This message has originated outside the organization.



How does this letter look Bernadette? I will accompany it with the below language...


From: Bernadette Heater <Bernadette.l•'leater@alliant.cor:m>
Sent: Tuesday, July 21, 2020 2:52 PM
To: Jim Collins <`collins@baf.com>
Cc: Mandy (Amanda) Neel <MNeel@baf.com>
Subject: RE: Signed BOR

Thanks Jim


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From: Jim Collins [milto:collins()baf.cm]
Sent: Tuesday, July 21, 2020 2:52 PM
To: Bernadette Heater <Be€ rnadei:t:e.Heater@alliant.corrm>
Cc: Mandy (Amanda) Neel <t~lNeelfbaf.com>
Subject: RE: Signed BOR

This message has originated outside the organization.



I will send this over with the notice to terminate their service, which I will send shortly. Thx


From: Bernadette Heater <Bernadet'te.Heater@alliant:.corn>
Sent: Tuesday, July 21, 2020 2:37 PM
To: Jim Collins <jcollins baf.coir.>
Cc: Mandy (Amanda) Neel <MNeel@baf.com>
Subject: RE: Signed BOR

Thank you!!

I do have a request. Since we were not able to take any information with us, I'm hoping you can send a request to
Gallagher asking for the basics. They will only release it to Basic. I put together a brief sample wording:

Thank you fbr your time and service while nartnering together over the last few years. We have made the decision to
switch our brokerage partner to another firm. Please send us all of the current insurance information including policies,
certificate holder. list, oon/ications and exposure schedules. We wish you the best.

Let me know if you want to talk through the process as well. I'll begin filing the BOR with the carriers, but there is a
process they follow. May be good for me just to walk through that with you or Mandy or you both.

Thanks,

Bernadette Heater
Account Executive

Alliant Americas
575 Market Street
Suite 3600
San Francisco, CA 94105

C 415 595 5426
E Bernadette nHez lert z Ilir- fit c ?r€
VV alliant.corn



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Alliant Insurance Services, Inc.




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From: Jim Collins (r .€€to:jcollin

                                             @baf:.comj
Sent: Tuesday, July 21, 2020 2:32 PM
To: Bernadette Heater <3 rnadtt .l ie.ate.= # alliant.coJ >
Cc: Mandy (Amanda) Neel <M             ie l; b f. i2X. J>
                              ...................................................
Subject: Signed BOR

This message has originated outside the organization.



Bernadette,

Attached is the signed BOR. We are excited to stay with your team for our P&C broker needs. I have notified Gallagher
(Bob Marrone) so they are aware of this change. This is for all our P&C needs. Internally, we plan on describing this as
an outsourcing of risk management, and thus plan on eliminating Lori's role. Accordingly, we hope to schedule some
time with you this week to discuss this plan. Would Thursday work?

Jim

Jim Collins
Chief Financial Officer




J. :_LLINSABAF :.COM / OFFICE: 9925.472..4151
MOLE: 925.285 3629 / BAFOOM
2999 OAK ROAD S'T'E. 800 i WALNUT CREEK, CA 94597




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                   Exhibit 46
                 Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 306 of 377
Message

From:            Patti Buckley [Patricia.Buckley@alliant.com]
on behalf of     Patti Buckley <Patricia.Buckley@alliant.com> [Patricia.Buckley@al liant.com]
Sent:            7/13/2020 3:25:40 PM
To:              Sarah Tighe [Sarah.Tighe@alliant.com]
CC:              Jennifer Baumann [jbaumann@alliant.com]
Subject:         RE: [PRIVILEGED] - New Hires -Tarantino


Thank you! ,:i

Patti Buckley, PMP, CSM
Sr. IT Business Analyst
Corporate Systems & Sales Automation
Alliant Insurance Services, Inc.

701 B St., 6t1, Floor
San Diego, CA 92101

Desk: (619) 849-4012
Mobile: (619) 481-4066

www.alliant.com


 i4IIiant
From: Sarah Tighe
Sent: Monday, July 13, 2020 3:25 PM
To: Patti Buckley <Patricia.Buckley@alliant.com>
Cc: Jennifer Baumann <jbaumann@alliant.com>
Subject: RE: [PRIVILEGED] - New Hires - Tarantino

Correct — there are 3

Sarah H. Tighe
First Vice President, Producer Integration
Alliant Insurance
0: 949.242.6295


From: Patti Buckley
Sent: Monday, July 13, 2020 2:59 PM
To: Sarah Tighe <S<~rata.Tl te alli l:.«na
Cc: Jennifer Baumann <ibaumaann66'~allia: t.com>
Subject: [PRIVILEGED] - New Hires -Tarantino

Hi Sarah,

I'm just confirming that we have 3 new hires with the last name of Tarantino, because I have 3 tickets for the following
privileged new hires:

          Don Tarantino
          Taylor Tarantino
          ToreyTarantino




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                                                                                                     ALLIANT_00011600_CA
              Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 307 of 377
Thank you!

Patti Buckley, PMP, CSM
Sr. IT Business Analyst
Corporate Systems & Sales Automation
Alliant Insurance Services, Inc.
701 B St., 6th Floor
San Diego, CA 92101
Desk: (619) 849-4012
Mobile: (619) 481-4066

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                   Exhibit 47

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                   Exhibit 48

 Exhibit Filed Under Seal
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                   Exhibit 49

 Exhibit Filed Under Seal
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                   Exhibit 50
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Message

From:         Mike Machette [mhmachette@gmail .com]
Sent:         7/23/2020 11:17:29 PM
To:           Spencer Brush [spencebrush@gmail .comJ
Subject:      Fwd: Final Thoughts


I'm excited about our right decision !! Catch up
Tomorrow before golf At 9:30.

Mike Machette
Area President
Arthur) Gallagher& Co
Ca License #0726293




Begin forwarded message:

From: Mike Machette <mhmachette@gmail.com>
Date: July 23, 2020 at 11:10:45 PM PDT
To: Steve Anthony<sra@knoxricksen.com>, robin MACHETTE<robinmachette@gmail.com>
Subject: Fwd: Final Thoughts

Foryourfi le Moving on. I can't say more than I have Said unless in person. The timeline ;decision process; Spencer
and his families happiness is#1. MATT who is a great Guy, Is A great guy. His companies Platform ultimately was not the
best fit As best we estimate 171 l iked the guarantee money But fami ly first!!

Mike Machette
Area President
Arthur) Gallagher& Co
Ca License #0726293

Sent from my iPhone

Begin forwarded message:

From: Gary Sitzmann <gsitzmann@bbnca.com>
Date: July 23, 2020 at 4:19:44 PM PDT
To: Mike Machette <mhmachette gmai l.com>, Spencer Brush <spencebrush@gmail .com>, robin MACHETTE
<robin machette @gmail.com>
Subject: Final Thoughts



Mike —

In the blur of our email exchanges, I failed to note that you copied Robin and Spencer on your
first email to me. I also saw your email suggesting we talk in person and I am responding that
one as well as your first one in this email.




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                                                                                                          BRUSH_00000052
                                                                Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 313 of 377

There is no need to recite everything that has been said so far. We can each check our email
files for that. From my end and for Robin and Spencer to see directly from me, here is where I
stand.




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to Alliant totally independent of each other. if you were on the other side of this, what you be
thinking?




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                 Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 315 of 377

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Gary




 :.....................................................i
                                Gary Sitzmann, CLU
                                PRODUCER
                •               gsitzmann@bbnca.com
                          Brown & Brown Insurance Services of California, Inc.
  INSURANCE               3697 Mt. Diablo Blvd, Suite 100, Lafayette, CA 94549
       _ .,... .          office 510-903-0217x1217 1 cell 510-701-0166 1 fax 510-452-4387
 CAL IIF 0 N IA           CA License #0D04053
                          bbnca,com




                            EMPLOYEE         EXECUTIVE     COMMERCIAL    AUTO
                            BENEFITS          BENEFITS        P&C       & HOME




 BINDING NOTICE: Insurance coverage cannot be bound, amended or cancelled via an e-mail message or voice mail system withoutconfirl
 CONFIDENTIALITY
 The information contained in this communication, including attachments, is confidential. It is intended only for the exclusive use of the address:
 for delivering it to the intended recipient, you are hereby notified that any dissemination, distribution orcopying of this communication is strictl
 you.



From: Mike Machette <mhmachette@gmail.com>
Sent: Tuesday, July 21, 2020 8:19 AM
To: Gary Sitzmann <gsitzmann@bbnca.com>; Spencer Brush <spencebrush@r gmail .com>; robin MACHETTE
<robi nmachette@grnail.com>
Subject: Fwd:


[External]
Gary,
I'm sure you know thefami liesFinal decision. What you don't know is the process: I have had two offers since the
beginningof the year. FirstAl liant approached us; Spencer mentioned to Matt we were thinking about leaving, then
Matt worked on a B& B offer. Tothis day Al liant does not know Whothe otherOffer is/was from. I spentthe last 3




                                                                                                                         BRUSH_00000055
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                Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 316 of 377
months excl usively worki ngwith Matt and the B&B Corp team negotiators, generally caving in tothei rCorporate needs.
I understand they buy Agencies Which al lowsfordue diligence not one off Brokers Which istotal lyconfidential . I ful ly
expected to except the B&B offe r of guaranteed money and hired an attorney to review the final document. In the last
month it became trou bl i ng to me B&B Corp unwi l lingness to waive some liability exposure and needs fordue diligence
knowing the lawswould not al low it until Gal lagher told. Their Corporate process and needs (we are asked to hurry up
but then wait for them) with The irdead I ine always trying to protect their risk became more disappointing. Finally,
theirIetterof intent document aski ng me to sign and hold me captive for45 days While they do thei rdue di ligence
knowingGal lagherexecutives are cal ling me was a big problem. Then Matt, Urgent request asked For us to fil l outan
"Agency" form Late Thursday so BB could have a due dil igence meetingearlyFriday Morning. Mid Friday morning Matt
Text or cal led and said he would get the 45 day Due diligence waived with a 3 hour cal l on Monday Or Tuesday, standby
for B&B Notice Friday. We did not here anythinguntiLMonday am.
   With Gal lagheral I over me fori nfo ( havi ngthree team mates leave earlierthat week )we were in crises mode time
line to figu re this decision out. I cal led a family Meeting. We discussed The B@ B process, Corporate needs, final
proposal subject to due diligence and Then looked atthe original All iant offer. The Al liant offer is total ly focused on,
treat staff wel l with signing raises, yearly raises and bonuses. For 13 years at Gal lagher, I have fought for This only to
see itfal Ion deaf ears! Al liant is very focused on taking care of the staff. They are very focused On hiring high quality
Employees/account executives and paying above market. So, what is bestforSpencerGoingforward is a great team of
Appreciated staff helping him manage my Book ,soon to be his and no more Gal lagher style Corp BS to deal with. We
started the family discussion Friday afterThe B&BAgency document Urgent requestThursday; discussed the issues with
advisors and Sunday afternoon decided, Although the guaranteed Signing money @ B& B was great for Me ( give some
to Spencer) and more money than The otheroffer, what was best forSpencerWasthe Al Iiantopportunity. My lawyer
didn't know ourdecision until late yesterday morningwhen I told him to stop the process. I then emailed Matt,tryingto
explain from the heartourdecision . I have neverworked harderoverthe last4 months trying to make the right
decisionforThefamily, Spencerand Staff. I have lost25 Ibs In the process. So no, I did not use Matt, mislead himor
anything else. The family made a decision based on what they thought was best forSpencergoingforward. He was
real ly I ooki ngforward to working with Matt and pursuingSITZMANN network leads. Ultimately, a very difficult
decision was made. I hope it works out.
  Gary I'm writingyou because of our long standing, unwaveringfriendship. I hope you understand ourfamilies
happiness is always first.
Mike Machette
Area President
ArthurJ Gallagher& Co
Ca License #0726293

   I1 it.iUuiit'pl'Jiisiii;

Begin forwarded message:

From: Mike Machette <r ihrnachette@ mail,com>
Date: July 20, 2020 at 12:35:08 PM PDT
To: Matthew Sitzmann<msitzmann@hhn€ca.con>,Spencer
                         ...................................... Brush <spe ce brushC gmail_co

I wil l cal l you shortly but wanted you to know: After an entire weekend of lockdown in The Bay Area ; meeti ng with
family members Spencerand Ashley;talkingwith Robin on phone While she attends to hersisters needs In LA ;
meeting &talking with my advisors, we / I have decided we do not want to go forward with Corporate America/B&B.
Matt, you are outstanding and assured us with your role runningthe Northern Calif profit center, we would be insulated
from B&B Corp issues. This 6 month process of satisfying B& B corporate/Shareholder needs which are geared towards
buying Agencies, not one off Brokers made me Realize they are corporate; feel they a re out of their normal business
model ; and are veryconcerned aboutthe upfront investment, Risks exposures. Making Me assume potential liabil ity
risks did not make me feel theytrulywanted us as Fox Hole partners. They didn't focus on my risk /disruption ortheir
20 year upside. A major reason I'm leavingGal lagheristo LeaveThe Corporate procedure and decision making Process.
I'm exhausted, 201 bs l ighter and have decided to go in a different, non corporate direction. We we nt down this road
togetherwith hope and excitementthings would workout. I'm incrediblysorrythings aren'tgoingthe wayYou, B&B,




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              Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 317 of 377
Gary and I had hoped. I love makingguaranteed money, but our( Spencer and I) happiness is number one which also
makes ourfamilies happy. Health is notguaranteed but happiness "improves" the chances on staying healthy. Please
cancel the cal l tomorrow. I'm around to talk

Mike Machette
Area President
Arthur) Gallagher& Co
Ca License #0726293

Sent from my iPhone




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                                                                                                    BRUSH_00000052
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 318 of 377




                   Exhibit 51
                      Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 319 of 377
Message

From:                Mike Machette [mhmachette@gmail.com]
Sent:                7/23/2020 9:29:12 AM
To:                  Spencer Brush [spencebrush@gmail.comJ
Subject:             Fwd: Michael Machette- Signed Conditional Offer of Employment


FYI, all forms sent . Start date , Monday - Thursday TBD by tomorrow. Enjoy Jay , he is great

Mike Machette
Area President
Arthur J Gallagher & Co
Ca License #0726293

Sent from my iPhone

Begin forwarded message:

From: HR Solution Center <HR@alliant.com>
Date: July 23, 2020 at 9:15:13 AM PDT
To: Ashley Brush <ashleywibrush@gmail.com>, Mike Machette <mhmachette@gmaiLcom>
Subject: RE: Michael Machette- Signed Conditional Offer of Employment



Thank you, we received the signed offerand welcome aboard!


Angie Rivera
HR Coordinator
Human Resources
Alliant Insurance Services, Inc.
1301 Dove Street
Suite 200
Newport Beach, CA 92660
949-527-9879 Direct
949-809-1475 Fax
888-324-7471 Alliant HR Solution Center
www.alliant.com




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From: Ashley Brush [mailto:ashleymbrush@gmail.com]
Sent: Thursday, July 23, 2020 8:53 AM
To: HR Solution Center<HR@al liant.cam>; Mike Machette <mhmachette@gmail.com>; Ashley Brush




                                                                                                                                                  BRUSH_00000063
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               Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 320 of 377
<ashleymbrush@gmail.com>
Subject: Michael Machette- Signed Conditional Offer of Employment

This Message has originated outside the organization.



Human Resources,

On behalf of Michael Machette, Please find his signed conditional offer of Employment attached.

Please confirm receipt of the email.

Thank you,

Ashley


Ashley Brush
ashleymhrush( gmaitcorri




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Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 321 of 377




                   Exhibit 52
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 322 of 377
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                   Exhibit 76
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                                                 GOLDEN_GATEWAY_CTR_000220
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                                                 GOLDEN_GATEWAY_CTR_000221
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 326 of 377




                                                 GOLDEN_GATEWAY_CTR_000222
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                   Exhibit 77
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                   Exhibit 78

 Exhibit Filed Under Seal
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                   Exhibit 79

 Exhibit Filed Under Seal
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 331 of 377




                   Exhibit 80
               Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 332 of 377
Message

From:          William J Houston [bjhcpa@juno.com]
on behalf of   William J Houston <bjhcpa@juno.com> [bjhcpa@juno.com]
Sent:          8/7/2020 9:50:19 AM
To:            Lisa.Kavanagh@alliant.com
CC:            mhmachette@gmail.com; Spencer.Brush@alliant.com
Subject:       Re: Broker of Record letters - ALC Inc. et.a. and LVP et.al.
Attachments:   BrokerofRecordLetters_Alliant_ALCInc.et.al_LVPet.al._08.07.2020.pdf;
               FineArtsEndorsementChange_08.04.2020.pdf; HartfordALCInc.ArtlnventoryList_08.04.2020.pdf



Good morning Lisa: Back to you with my sign_ Also attached is our Fine Arts Inventory list and endorsement
from Hartford. I sent the Fine Art schedules to Rachel Simco of AJG&Co. on 08/04/2020 to make the
adjustment to the endorsement shown in red.

Please confirm your receipt by responding to this e-mail. Also, let me know if you need a letter from Lagoon
Road Aina LLC and The BAH Revocable Trust as discussed, asked, below.

thanks/bill


On Thu, 6 Aug 2020 17:02:58 -0700 William J Houston <~I 1a`ju€tc.                 r> writes:

 ----- Forwarded Message -----
 From: William J Houston <12`l cp ,6-inrio col ~>
 To: I.:i_ss.I ava      l t £: iia .con
 Cc: rrrlt~ ac:l~ettet~ , ~fail.cr~r~~ .S ?erce .3~~ i i ii T _L.t   a
 Date: Thu, 6 Aug 2020 16:50:25 -0700
 Subject: Broker of Record letters for signature

 Lisa - will do. attached are our current insurance schedules. We no longer own Locations 9 & 11 that are
 listed on the premium allocation schedule. AJG & Co. was notified soon after we sold those locations and
 have removed from coverage. The attached LVP Insurance Log date 11/17/2019 lists LVP et.
 al.'s current holding.

 I'm going to send you one letter for LVP et. al. and separate letter for:
          Fairway San Leandro LLC
          Alameda Land Company Inc.
          Mokulua Drive Aina LLC
 Our umbrella policy for Alameda Land Company Inc. includes Lagoon Road Aina LLC and The BAH
 Revocable Trust as additional insured. AJG&Co does not provide us property and general liability for those
 entities as we've insured the property with USAA. Do you need a separate letter from those entities or will the
 one from ALC Inc. cover it?

 I think that should cover all the entities you need letters from. Let me know if otherwise.

 As I reminded Mike, we will need the two attached 1pdf schedules for LVP et.al. updated every year
 prior to paying the premiums. It's very important that we get those statements timely.

 I'll send you a schedule of ALC, Inc.'s Fine Art Schedule tomorrow.



                                                                                                          MACHETTE_00000536
                                                                                                          MACHETTE_00000536
                           Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 333 of 377

thanks/bill

William J. Houston
Alameda Land Company Inc.
510.769.6080 (telephone)
510.769.6088 (facsimile)
~ijl .p€   lg: fg l (e-mail)

----- Forwarded Message -----
From: Lisa Kavanagh <l.,isc . a a~_alr`;elliar .~~a>
To: '"hj cpat{z jun_ _com" <l c_pa : ju o _c_om>
Cc: Spencer Brush < p n~ r l3€        ' aHiant c€ 11> Jared Finney <lared.Fi n€e\ e0a ltent..co€1.>
Date: Thu, 6 Aug 2020 22:36:44 +0000
Subject: Broker of Record letters for signature
Message-ID: <r 18F 12 88 24 44876'7F 98C :"F7FB846F F 3f 8(';icic-e; ~;;i ri~i 06, 1 •cralll~tn..cc~rr >

IR 11771II

Per your request, attached are blank Broker of Record letters for you to executive for Alameda Land Co. and Loma
Verde Properties. Please copy the wording to company letterhead, sign and return to our attention. If you have any
schedules of insurance you can easily forward, that would be appreciated as well.

We will get the letters out to each carrier and make sure you have a full set of the letters for your files. As always,
thank you for your business.

Regards,




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www.elliartt.com

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         Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 334 of 377
                                    Loina Verde Properties LLC
                            1316 Sol~rr~ venue, Albany,y, Cal ft*r ia 94706
             Tdqth one; 510.76 9.6080: Facsimile: 51(A 7 .6088, Emile jh piK43ano.cwn

August 7, 10210


Broker of Record Authorization

lo W ''hom It !f xry Concern:

This confirms that effective imrnediat :ly, we have appointed Alliant Insurance Services, Inc_. as our exclusive
insurance broker with respect to our property and casualty insurance program. The appointment of Alliant
Insurance rescinds all previous appointments, and the authority contained herein shall remain in full force
until canceled in writing.

Alliant Insurance is hereby authorized to negotiate directly with any interested company as respects changes
in existing insurance policies and in t:losin€g hanemg incr erasing, or canceling
                                                                           c;        insurance arried under
temporary binders or cover notes. We understand, however, that they w ill not share responsibility fir any
return premiums and/or commissions due on coverage not placed by them, nor fi r any deficiencies in the
insurance program to which this letter applies until they have had a reasonable opportunity to make a review
and to provide us with their recommendation",

This letter also constitutes your authority to furnish the representatives of Alliant Insurance with all
information they may request as it pertains to our insurance contracts, rates, rating schedules, surveys,
reserves, retentions and all other financial data they may wish to obtain i,.m, their study of our present and
future requirements in connection with the insurance program to which this letter applies, We request that
you do not communicate such information to anyone else.

We further ask that you waive the t€t-day waiting period.


Sincerely.


Will.iamd Houston, CEO




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          Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 335 of 377
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             Telephone: 510. 7 9,60 0; Facsimiles 510,769,6088: :m mail. 6jhcpt4Juno.com

Aui.tus€ ", 202€i


Broker of Record Authorization

Fo t;. hone It 4l iv Concern:

This confirms that effective immediately, we have appointed :Alliant insurance Services, Inc. as our exclusive
insurance broker with respect: to our property and casualty insurance pro :rani. The appointment of A liant
insurance rescinds all previous appointments,
                                         ments, and the authority contained herein shall remain in full force
until canceled in writing.

Alliant Insurance is hereby authorized to negotiate directly with any interested company as respects changes
in existing insurance policies and in clos€ne. changing, increas€ng €nr canceling iris€rw-~inc€,: carried under
temporary hinders or cover notes. We understand, however, that they will not share responsibility for any
return premiums and/or commissions due on coverage not placed by them, nor for any deficiencies in the
insurance program to which this later applies until they have had a reasonable opportunity to make a review
and to provide us with their recommendations.

This letter also constitutes your authority to furnish the representatives of Alliant Insurance with all.
information they may request as it pertains to our insurance contracts, rates, rating schedules, surveys.
reserves, retentions and all other financial data they may wish to obtain for their study of our present and
future requirements in connection with the insurance program to which this letter applies, We request that
you do not com€anon:€cate such information to anyone else.

We further ask that you waive the IO-day waiting period.


Sincerely,

By: Lorna Verde properties LLC, Its Manager
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l:    1 i:aria .Houston, Its CEO




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                                                                                                      MACHETTE_00000539
                                                                                                        MACHETTE 00000538
                   Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 336 of 377
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August 7, 2020


Broker of Reeord Authorization

To Whom R May (tone n:

This confirms that effective immediately. we have apta<:a€€ ied Afa.nt: Insurance Services, Inc, as our exclusive
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you do not communicate such ii:iOnattarion to anyone ::'l                                                  '


We further ask that you waive the I0-da ' wa.it:imt, period




                        Houston. Cl.o




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                   Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 337 of 377
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August            7. 2O:)



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To whom It May Concer :

This confirms that effective immediately, we have appointed Al Rant Insurance {Services. Inc.. as our exahuidy-e
insurance broker with respect in our property and casualty insurance program. The uppoi ttn cut o Aii a€.; t
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insurance  rescinds all previous appointments. and he authority contained herein shah remain iu full €€€a
until canceled in writino.

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We further ask that you waive the [O-da€y waiting period


Sincerely,




                          H f €st€:5•n, CEO
                                                 Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 338 of 377
                                                POLICY NUMEE                                 57 SW', LZOISS



                                                THIS ENDORSEMENT CHANGES THE POUCY. PLEASE READ IT CAREFULLY.


                        SCHET ILE OF                            FINE             ARTS




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                                    Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 339 of 377



                                 PO1..fCY NUMRE            : 57 SBA . :.22195



                                 THIS ENDORSEMENT
                                                T CHANGES THE POLICY, PLEASE READ IT
                                                                                     CAREFULLY,

                      SCHEDULE OF PINT? ARTS




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                                                            and Rare Books Edorsement - Schedule Document         85 Filed
                                                                                                 of Fine Arts at 08.04.2020      04/13/22
                                                                                                                            - Alameda         Page
                                                                                                                                      Land Company Inc. 340                                                                              of 377

                                                                                           FINE ART - JAPANESE WOODBLOCK PRINTS AND OTHER JAPANESE FINE ART

3(12(2018    Keiko Minami (1911-2004): Untitled depicting fish and sailboat. Color etc        an paper, signed lower right and numbered 1/50 lower left. Framed and glazed. 13.15 x 11 inches                                                                   426.08     ':; %?::::,                         3/12/2018

3/12/2018    Carmine Sena (American 20th Century) "Untitled Japanese Warrior." Mixed media on board. 158215 inches. Frame 18.875 a 25 inches                                                                                                                    491.63        y !'^a t ,                       9/lCJ2ote




                                                                                                                                                         TOTAL FINE ART JAPANESE WOODBLOCK PRINTS AND OTHER JAPANESE FINE ART                                  917.71                    2,000.00



                                                                                                                         FINE ART- CHINESE



8/10(2019    Chinese Pewter Tea pof with lade Handle. LateQir•.g Dynasty. Length 7". Carved with conCirroa landscape scene. Oragor head hardle with partial jade bangle inset Cover of peach form finial with red store inset. (on loan to Darbraok House)     1,119.45       """'' "                          8/1C/2019

9/9/2019     Chinese Bronze Hand b1)armer With Dragon Motif and Molded Dragon Form Lid, Late Qing Dynasty. (on loan to Danbrook House).                                                                                                                         329.25     ': ; ' ''. ";       ,               9/28/2019




                                                                                                                                                                                                                           TOTAL FINE ART -CHINESE            1,448.70                   6,000.00



                                                                                                                     FINE ART- MARC CHAGALL

8/14/2018    Marc Chagall (Russian/French 1887 -1985) "Prophet Killed by a Lion" Etching with hand coloring. Signed with initials lower right: M. Ch. Numbered 69/100.                                                                                         3,277.50                                        5 1c/2m8

9/10/2018    Marc Chagall (Russian/French 1887 19851 "Abraham Accompanies the Three Angles (From the Bible Series)" Etching with hand coloring. Signed with initials lower right: M. Ch. Numbered 46/100.                                                      2,622.00     fl :;                              9; tC/2018

9/10/2018    Marc Chagall (Russian/French 1887 -19851 "XXe Siecle Homage to Marc Chagall" (plate 572) Color Lithograph Signed lower right: Marc Chagall Numbered 71/75.                                                                                        4,260.75                                        9/tC/2018




                                                                                                                                                                                                                  TOTAL FINE ART - MARC CHAGALL              10,160.25             19,000.00



                                                                                                                           OTHER FINEART
                                                                                                                                                                                                                                                                                               E    '
8/15/2017    Eric Zener (American b. 1966) "Jar of Olives" Oil on canvas. 30030 inches. Signed I/r, signed dated and titled verse. (on loan to Danbrook House)                                                                                                 1,245.45                  3,09_9Q [f     }1     9J1C/2018

9/14/2017    Ben Shahn (American 1898-1969) "Haggedah" Hand colored lithograph. Sheet: 15 3/8023 1/2 inches; Frame: 231/80313/8 inches. Signed I/r                                                                                                              524.40          „:.0.,J i.0 EG„                8/26/2018

11/14/2017   Al 'room (American 1933.2006) "Still Life with Lemons and Apples" Oil on Masonite. 8 x 9.875 inches; Frame: 11 x 13.75 inches. Signed with monogram upper right corner, (on loan to Danbrook Housel                                               1,179.90                  2,        sit '!;.   10/14/2018

4/10/2018    Grant Wood (American 1851-1942) "July 15th" Lithograph from an edition of 250. 117/8 by 16 inches. 1938. Signed in pencil lower right: Grant Wood                                                                                                 4,260.75            1 E9d,0A j                   6/5/2020

12/13/2018   Dan Ostermiller (American: born 1956) Bronze Sculpture: "Watchman of Loreto Bay, 2008". Signed, numbered and dated: Dan Ostermiller 7/202008 (on loan to Danbrook House)                                                                          1,835.40                  ;f,3p9li`lC! ';      12/13/2018

2/12/2019    Alberto Vargas (American 1896 -1982) "The Sailor Girl" Print on deluxe opalesque silk. Image form Esquire Magazine 1945 The Gatefolds" images. Numbered 66/300.                                                                                    589.95                   2,t1E10 00 !;         2/12/2019

6/10/2019    Framed Bronze Relief Medallion of Adam and Eve being expelled from Eden. Base on the central panel of "The Milton Shield" by Leonard Morel-Ladeuil. Commissioned by Elkington & Co. for the Paris exhibition of 1867.                              460.95          ;:;; JCE l             2>      6/10/2019




                                                                                                                                                                                                                               TOTAL OTHER FINE ART          10,096.80             24,000.00




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                                                                                                                            RARE 80005



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                                                              Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 341 of 377
                                         Hartford Fine Art and Rare Books Edorsement - Schedule of Fine Arts at 08.04.2020 - Alameda Land Company Inc.


7/17/2019    Rare Book -Works of The Famous Nicholas MachieveI Citizen and Secretary of Florence-Third Editon "carefully Corrected" 'uIl ls red 1720 in London by T.W. for A. Churchill e'. al,                                                   428,03             I~C40, ff t          7/17/2015




                                                                                                                                                                                                                    TOTAL RARE BOOKS             428.03              1,000.00




                                                                                                                   RARE DOCUMENTS

7/17/2019    Ship's Papers delivered to Captain Thomas Hanson, commander of the ship named Huntress, signed on May 13, 1809 by President James Madison (1751-1836) and counter signed by Secretary of State Robert Smith (1757-1842)              987.75      ,;'          "               5/6/2020




                                                                                                                      RARE STAMPS

4/10/2018    Israel Mint N.H. Stamp Collection. Complete from 1948- 1999 Mostly no tabs (some with) in four albums (on loan to Danbrook House)                                                                                                  2,716.00             5C I5f :; ,p„        9/21/2019

9/28/2019    U.S. Mint Stamp Collection of stamps. Selective from 1898 to 1958                                                                                                                                                                  3,005.03              :, ad,AI,            8/4/2020

11/11/2019   U.S. Mint Stamp Collection of stamps of the Kingdom and Republic of Hawaii from 1864 to 1871.                                                                                                                                      1,477.45             u` 0.w )(Ct     :;   4/21/2020




                                                                                                                                                                                                                   TOTAL RARE STAMPS           7,198.48              9,000.00




                                                                                                                                                                                        TOTAL RARE BOOKS, DOCUMENTS AND STAMPS                 8,614.26             16,000.00




                                                                                                                                                                                                                                  Totals     $31,237.72         $67,000.00



                                                                                                                                                                                 Insured Via The Hartford Itemized Scheduled Fine Art Insurance Endorsement   „fY0{)
                                                                                                                                                                                                                                                                  C7           40


                                                                                                                                                                                                                                                Deductible             $250.00




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                                                                                                                                                                                                                                                               MACHETTE_00000544
Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 342 of 377




                   Exhibit 81
               Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 343 of 377
Message

From:          Reinaldo Javier [rjavier@breacanon.com]
on behalf of   Reinaldo Javier <rjavier@breacanon.com> [rjavier@breacanon.com]
Sent:          8/6/2020 1:10:30 PM
To:            Spencer Brush [Spencer.Brush@aIliant.com]
CC:            Mike Machette [mhmachette@gmail.com]; Michael.Machette@AlIiant.com
Subject:       RE: Letter of Authorization - Insurance
Attachments:   BOR_Executed.pdf



Spencer,

See attached signed BOR.

Regards,



Rey Javier
Vice President
Brea Canon Oil Co., Inc.
23903 S. INormandie Ave.
Harbor City, CA 90710
(310) 326-4002 office
(310) 420-4781 cell




From: Spencer Brush <Spencer.Brush@alliant.com>
Sent: Wednesday, August 05, 2020 4:31 PM
To: Reinaldo Javier <rjavier@breacanon.com>
Subject: Letter of Authorization - Insurance

Rey,

Please find attached the letter of authorization appointing our new firm as your broker. Please put your company
letterhead, sign and return the attached at your earliest. Please feel free to forward any insurance documents to me as
well.

Any questions please let me know.

Thank you,
Spencer



Spencer Brush
Vice President
Sales (:onsultant IAllia€nt Americas
All€ar t lnswance Servl;,:es Inc.

21.85 N. California Blvd. Suii:e400
Walnut Creek, CA 94596

work: 51O2270512       mobile: 92.5 S1.h   >S:I




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                               Case 3:20-cv-05505-EMC Document 85 Filed 04/13/22 Page 344 of 377
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    August 6, 2020


    Broker of Record Authorization

    To Whom It May Concern:

    This confirms that effective immediately, we have appointed Alliant Insurance Services,
    Inc. as our exclusive insurance broker with respect to our property and casualty insurance
    program. The appointment of Alliant Insurance rescinds all previous appointments, and
    the authority contained herein shall remain in full force until canceled in writing.

    Alliant Insurance is hereby authorized to negotiate directly with any interested company as
    respects changes in existing insurance policies and in closing, changing, increasing or
    canceling insurance carried under temporary binders or cover notes. We understand,
    however, that they will not share responsibility for any return premiums andlor
    commissions due on coverage not placed by them, nor for any deficiencies in the insurance
    program to which this letter applies until they have had a reasonable opportunity to make
    a review and to provide us with their recommendations.

    This letter also constitutes your authority to furnish the representatives of Alliant Insurance
    with all information they may request as it pertains to our insurance contracts, rates, rating
    schedules, surveys, reserves, retentions and all other financial data they may wish to obtain
    for their study of our present and future requirements in connection with the insurance
    program to which this letter applies. We request that you do not communicate such
    information to anyone else.

    We further ask that you waive the I 0-day waiting period.


    Sincerely,
c
                           -
    Rey Jav'ie?N
    Brea Canon Oil Co., Inc.




                         PHONE (310) 326-4002 * FAX (310) 325-1986
                 23903 SOUTH NORMANDIE + HARBOR CITY, CALIFORNIA 90710



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                   Exhibit 82
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Message


From:          Bob Bennetsen [BBennetsen@al liant.com]
Sent:          12/2/2019 10:48:25 AM
To:            donptarantino@gmai l .com
Subject:       Sample EA
Attachments:   SAMPLE EA Template -CA LH Producer- 11.26.19.pdf



!a


This is ourgenericform. Let's discuss when you have a chance.




Bob Bennetsen
Senior Managing Director &
Executive Vice President
Alliant Americas
Alliant Insurance Services, Inc

1420 5th Avenue, 15th Floor
Seattle, WA 98101

D 206 204 9184
C 347 291 5249
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CA License No. OC36861


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advice, and recipients are advised to consult with their appropriate advisors regarding any legal, financial, or tax
implications.




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        This is a sample. This document does not constitute an offer of employment, and the
        terms contained herein are subject to change.
                                                        EMPLOYMENT AGREEMENT

                This Employment Agreement (the "Agreement") is effective                     , 2020 (the
        "Effective Date") between ___________,an individual ("Employee"), and Alliant Insurance
        Services, Inc., a Delaware corporation ("Alliant'), collectively referred to as the "Parties."

        1. Definitions. The following definitions apply in this Agreement:

           (a) "Account(s)" means any and all new or existing Business written or conducted with any
               Alliant Customer, whether or not produced by Employee.

           (b) "Affiliate" means as defined in Rule 405 under the Federal Secu;riti:es Act of 1933, as
               amended.

           (c) "Business" means any and all insurance, surety, risk management services, professional
               services, and related services and activities that Alliant brokers:;; rotherwiso ;;p'rovides to
               Customers or Prospective Customers.

           (d) "Cause" means:

                 (i)     Employee's fraud, embezzlement c i` rnisapfiopriafl=3r. 'l``naterial funds or other
                         material property involving or agat e Alliant, any of  Affiliates, or any Customer of
                                                                                its




                         Alliant or any of its Affiliates,

                 (ii)    Employee's violation of any feejeral, stateF rlocal law, ordinance, rule or regulation
                         (other than traffic violations or similarinfractions) including prior to or in the course of
                         Employee s employmertt with or:d tie to Alliant, that is, or is likely to be, materially
                         detrimental to the business reputation, or goodwill of Alliant or any of its Affiliates;

                 (iii)   Employee's gha s negligence., recklessness, or willful misconduct with respect to
                         Alliant or any df'its Affiliate

                 (iv)    Em(         's
                                      violation of Alliant's Code of Business Conduct and Ethics or any other
                         policy of Alliant or   Affiliates, including any violation of management unit
                                                  its




                         subscription agreements if any apply, between Alliant Holdings, L.P. or its Affiliates,
                         that Atliant s Board of Directors reasonably determines makes Employee no longer
                         able or fit to,f' 11 Employee's responsibilities under this Agreement and that is not
                         cured, .. ftot capable of being cured, within 30 days after Alliant gives Employee
                                  o




                         written notice thereof, unless such notice would cause Alliant irreparable harm;

                 (v)     Employee's misappropriation of confidential information or trade secrets of any
                         "Competing Business" (defined below), including any former employer of Employee,
                         or acts or omissions constituting a breach of any enforceable, material contractual
                         terms with a former employer of Employee concerning confidentiality obligations or
                         restrictive covenants not to solicit employees. Allegations by Employee's former
                         employer or others associated with Employee's former employer are insufficient,
                         without proof or evidence of same, to conclude that misappropriation has occurred;

                 (vi)    Employee's engaging in any Competing Business that creates a conflict of interest or
                         breaches Employee's duty of loyalty to Alliant, engaging in acts of insubordination,
                         failing to expend Employee's best efforts on behalf of Alliant, or otherwise failing to
                         devote Employee's full business time to Alliant, that is not cured, or is not capable of


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                       being cured, within 30 days after Alliant gives Employee written notice thereof, unless
                       such notice would cause Alliant irreparable harm;

                (vii) Employee's unlawful use of (including being under the influence of) drugs or
                      possession of illegal drugs while on the premises of an Alliant office or any of its
                      Affiliates' offices or while in the course of Employee's employment or while
                      performing duties and responsibilities to Alliant or any of its Affiliates;

                (viii) Employee's material breach of the terms of this Agreement or failure to fulfill
                       Employee's duties under this Agreement and such breach or failure, as the case may
                       be, is not cured, or is not capable of being cured, within 30 days after Alliant gives
                       Employee written notice, unless such notice would cause Alliant irreparable harm;

                (ix)   Employee's indictment for, conviction of, or entry of a plea of guilty or nolo
                       contendere, or the equivalent thereof, for any felony or any crime that involves
                       violence, dishonesty, breach of trust, or any other act of       turpitude; or

                (x)    The debarment of Employee from engaging in contracting or sub contracting
                       activities with the United States Government if such del ( ent is the result of a final
                       determination by any agency of such government.                  is

           (e) "Competing Business" means any person, bra,;                    partnership, association,
               corporation or business organization, entity   ore'i          ther ;;;t( n Alliant or its Affiliates)
               that brokers, sells, or markets insurance s :r'ety,           invent services, and related
               professional services in competition with Alliant.

           (f) "Customer(s)" means any and all                        Alliant performs or will perform services,
               or to whom Alliant sells or licenses,                  Inse, products.

           (g) "Law" means any declarations lefip, directive, legislative enactment, order, ordinance,
               regulation, rule or other binding restriction,, for by any governmental authority, including
               applicable privacy Lars,

           (h) "Prospective Customer(s)" means any and all leads and contacts of potential Customers,
               whether or nct btainecl rInade by Employee during Employee's employment, including,
               without limitation, all leads sand contacts who are listed, or who become listed, on any of
               Alliant's agency managerr#e.nt systems.

           (i) "Property' ineans any tangible thing, or writing, as defined in California Evidence Code
               section 250 including but not limited to, all documents, electronically-stored information, all
               records, files, memoranda, reports, price lists, customer lists, plans, keys, codes, computer
               hardware and software, and other property of any kind or description (and any duplicates of
               any such property) prepared, used, or possessed by Employee during Employee's
               employment by Alliant, including, without limitation, Accounts now or hereafter on Alliant's
               books (including, but not limited to, all Accounts that Employee brings to Alliant at the
               beginning of Employee's employment), all information concerning Accounts, Customers, and
               Prospective Customers (including, but not limited to, all customer lists, expiration lists and
               related records, and all lists on any of Alliant's agency management systems), all rights to
               Customer payments, and all goodwill in connection with Customers, Accounts, and
               Prospective Customers. Information that is readily ascertainable through public sources,
               such as the identity, location, and contact information for past or present Customers, or
               Prospective Customers, is excluded from the definition of "Property."

           (j) "Restricted Period" means the two-year period following the date on which Employee's

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                                                                                                         TARANTI NO_00000100
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                 employment with Alliant terminates, for any reason, including Employee's resignation, except
                 not in the event that Employee is terminated involuntarily without Cause.

           (k) "Separation Payment" and "Pay-Out Period" are defined in Exhibit E.

           (I) "Total Disability" means Employee's inability to perform the essential functions of
               Employee's position, with reasonable accommodation if required by law, due to a mental or
               physical injury, illness, or condition.

           (m) "Vested Produce?' means the producer whom Alliant designates as having originated an
               Account, by issuing the initial policy or other business on that Account, or who has been
               assigned vesting on that Account by Alliant or through assignment of "vesting" by Alliant
               upon the recommendation of the prior Vested Producer on that Account. In the event there
               is no specific vesting code assigned to an Account, that vesting will be determined by the
               most recent commission split.

           (n)                                                                                by Alliant, in


        2. Em

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           (b)                                                                                i behalf of
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                                                                                                management
                                                                                               d that these
                                                                                              s Agreement.

           (c)

           3                                                                                  ployee's
                                                                                                At Alliant's
                                                                                              f, in its sole


           (e) Compliance. Employee shall perform Employee's duties in accordance with all Alliant
               policies, rules, and procedures, and shall abide by all decisions made by Alliant. To the
               extent any conflict exists between the terms of this Agreement and Alliant's Code of
               Business Conduct and Ethics or any other Alliant policies, rules, and procedures, the terms
               of this Agreement will control. Employee also shall not commit any unlawful, immoral,
               fraudulent, or dishonest acts to the discredit of Alliant. Employee shall comply with all
               applicable federal, state, and local laws, regulations, and ordinances including, but not
               limited to, the California Uniform Trade Secrets Act (Cal. Civ. Code § 3426.1-3426.11), all
               licensing requirements, and all other insurance laws and regulations of each state in which
               Employee solicits Business for Alliant (collectively, "ApplicableLaw').    Employee
               acknowledges and agrees that any authority granted to Employee under this Agreement is
               subject to restrictions set forth under Applicable Law.



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           (f) Premium Billing and Collection. All premiums, commissions, and fees, whether billed by
               Alliant or directly billed by a carrier or other third party, shall be owed to Alliant. All checks
               and drafts in payment of these amounts shall be made payable to Alliant. Employee shall
               deliver all money received in payment of premiums, commissions, or other fees to Alliant in
               the form received and deposited to Alliant's designated accounts. Employee shall have no
               right to accept or hold money on behalf of Alliant. Employee shall, however, assist in
               collecting all premiums, commissions, and fees and in pursuing any uncollected premiums,
               commissions, or fees for all new and renewal Business produced by Employee.

           (g) Social Media. Employee shall not, without Alliant's written approval and consent or unless
               allowed by Alliant's written policies, place or cause to be broadcast, disseminated, or
               published, including on Facebook or any other social media account of Employee, any
               advertising of Employee's activities on behalf of Alliant.



           (a) Compensation. As compensation for services rendered under this Agreement, Alliant shall
               pay Employee the compensation specified in Exhibit A. This pertsation may be modified
                                                                                  e




               as provided in Exhibit A.

           (b) Benefits. Employee will be eligible for all customary group benefits that are generally
               afforded to similarly situated employees at Alliant including, but not limited to, group life and
               medical insurance, and 401 k plans, subject to the terms and conditions of Alliant's benefit
               plan documents. Alliant reserves the right', changeor elimInate any and all fringe benefits
                                                              o




               on a prospective basis, at any time, effective upori fotice to Employee.

           (c) Equity. Employee will be entitled to                     subject to the terms and conditions set
               forth in Exhibit C and in any governir                   effecting the equity's issuance.

           (d) Leveraged Hire Bonus.                                   Hire Incentive Plan is specified in Exhibit D.

        4. Business Expenses.

        5. At-Will Employment. Employee's employment with Alliant is "at-will" and is therefore not for a
           specified term. Since the e'fnployments strictly at-will, it may be terminated at any time, with or
           without Cause, anc with or without notice. This Agreement shall automatically terminate
           concurrently With the termination of Employee's employment for any reason. Employee may
           also be transferred, reassigned, suspended, or demoted with or without Cause and with or
           without notice. Employee's at-will status may be altered only by an express written agreement
           signed by Employee and by Alliant's President. Employee understands and agrees that no oral
           agreement or statement of any kind, nor any handbook provision or other published policy or
           procedure, nor any other conduct of the Parties can alter this at-will relationship.

        6. Eligibility for Separation Payment. Alliant shall pay Employee the Separation Payment if (a)
           Employee's employment with Alliant terminates for any reason other than Employee's death,
           Total Disability, or for Cause, (b) Employee has not violated any of Employee's obligations under
           the Agreement (as determined in Alliant's sole discretion), and (c) Employee meets all of the
           conditions set forth in Exhibit E, including complying with the terms of this Agreement and
           signing a general release of claims satisfactory to Alliant. Upon Employee's termination, and
           except as provided in this Section 6, Exhibit A, or as required by law, Employee is not entitled to
           any further compensation. Employee's eligibility for this Separation Payment does not change
           the at-will status of Employee's employment.

        7. Section 409A.


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                                                                                                         TARANTI NO_00000100
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           (a) Compliance. The intent of the parties is that payments and benefits under this Agreement
               be exempt from or comply with Section 409A of the Internal Revenue Code and the
               regulations thereunder ("Section 409A"). This Agreement shall be interpreted and
               administered accordingly. However, Alliant does not warrant to Employee that all the
               amounts paid or delivered to Employee will be exempt from, or paid in compliance with,
               Section 409A. Employee understands and agrees that Employee bears the entire risk of any
               adverse federal, state, or local tax consequences, including penalties to Employee, which
               may result from payment under this Agreement, contrary to the provisions of Section 409A or
               comparable provisions of any applicable state or local income tax laws, provided that such
               taxes, interest or penalties are not caused by Alliant's own negligence. Employee
               acknowledges that Employee has been advised to seek the advice of a tax advisor with
               respect to the tax consequences of all such payments.

           (b) Termination. If and to the extent necessary to comply with Section 409A, for the purpose of
               determining when amounts otherwise payable on account of Employee's termination of
               employment under this Agreement will be paid, "terminate," "terminated,' "termination," or
               words of similar import relating to Employee's employment with Alliant, as used in this
               Agreement, shall be construed as the date Employee first Incas a"separation from service"
               within the meaning of Section 409A from Alliant.

           (c) Reimbursements. Amounts reimbursable to Employee shall be paid to Employee on or
               before the last day of the year following the year**Ii. :1„wftli✓ the expense was incurred and the
               amount of expenses eligible for reimbursement        (end    in find benefits provided to Employee)
               during one year may not affect amounts refretrnbursa        e  or provided in any subsequent year.

           (d) Interpretive Rules. For purposes of:;G                      visions of Section 409A to this
               Agreement, each separately identifies                       ich the Employee is entitled under this
               Agreement shall be treated as a sepa                        In addition, to the extent permissible
               under Section 409A, any sert of ins                         ;nts under this Agreement shall be
               treated as a right to a series sep4rc

        8. Covenants by Em

           (a) Property Rights.

               (i)    ComPa'ny'Property,, Employee expressly acknowledges that all Alliant Property is
                      and will beAlliant's exclusive property and, upon separation of employment from
                      Alliant for any reason; or upon Alliant's request at any time, Employee shall promptly
                      return Alliant
                                to
                                         all
                                            Property that had been entrusted or made available to Employee as
                      an employee, Employee acknowledges that Alliant's exclusive ownership will continue
                      during and after the termination of Employee's employment. Employee further
                      acknowledges that Employee has no ownership interest or rights of any kind in or to
                      any of the Alliant Property including, without limitation, any Accounts, even if Employee
                      may be coded or otherwise identified as a source of production on such Accounts.
                      Alliant's exclusive ownership related to Prospective Customers expressly includes, but
                      is not limited to, all leads and contacts obtained or made by Employee during
                      Employee's employment.

               (ii)   Intellectual Property.

                        (A)     Defined. "Intellectual Property" means any and all intellectual property and
                                proprietary rights including: (i) inventions (whether patentable or unpatentable
                                and whether or not reduced to practice), all improvements thereto, and all
                                patents, patent applications and patent disclosures, together with all

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                                                                                                         TARANTINO_00000100
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                          reissuances, continuations, continuations in part, revisions, extensions, utility
                          models, certificates of inventions, design patents, and reexaminations thereof;
                          (ii) trademarks including service marks, trade dress, design rights, logos, trade
                          names, slogans, assumed names, corporate names domain names and other
                          URLS and social media accounts, together with all translations, adaptations,
                          derivations and combinations thereof and including all goodwill associated
                          therewith, and all applications, registrations and renewals in connection
                          therewith; (iii) copyrights including all copyrightable works (including all website
                          content, documentation, advertising copy, marketing materials, specifications,
                          translations, drawings, and graphics) and all applications, registrations and
                          renewals in connection therewith; (iv) Confidential Information and Trade
                          Secrets; (v) Software; (vi) the right to sue for past, present and future
                          infringement and to retain all remedies including damages resulting from such
                          suits, together with all forms of legal rights and protection that may be obtained
                          for any of the foregoing in (i) through (v) anywhere in the world; and (vii) copies
                          of tangible embodiments of any of the foregoing in;;((i) through (v) (in whatever
                          form or medium).

                          "Software" means all: (i) computer programs, including any and all software
                          implementations of algorithms, models and methodologies, whether in source
                          code or object code, and documentatio    nd (ii) database and compilations,
                          including any and all data and colI qns` 'data, whether machine readable or
                          otherwise.

                    (B)   Ownership. Employee ackrr ledg That Intellectual Property that is
                          conceived, created, developed,de8i ned, or reduced to practice by Employee,
                          alone or with others, duri'nq the course and/or within the scope of employment
                          with Alliant, its parents, susidt rles, or Affiliates, whether before or after the
                          date of this Agreement, belong to,Alliant, its parents, subsidiaries, or Affiliates
                          (collectively, "Company Intellectual Property"). Employee agrees to and
                          hereby does irrevocably "asstgrt,to Alliant, without further consideration, all right,
                          title, and interest that
                                                 Employee    may presently have or acquire (throughout the
                          United Stites and in all foreign countries), free and clear of all liens and
                          encumbrances, in: and t each Company Intellectual Property, and each such
                          Company Intellectual Property shall be Alliant's sole property, whether or not
                          patentable, copyrightable or otherwise legally protectable. In addition, to the
                          extent not assigned, Employee hereby irrevocably waives any moral rights
                          (including fights of attribution and integrity) that Employee may have with respect
                          to the Com pany Intellectual Property. Employee acknowledges that all original
                          works of authorship that are made by Employee (solely or jointly with others)
                          during the course of Employee's employment with Alliant, its parents,
                          subsidiaries, or Affiliates, and that are protectable by copyright, are "Works Made
                          For Hire" as defined in the United States Copyright Act (17 USCA § 101), and
                          are included in the definition of Company Intellectual Property.

                    (C)   Retained Intellectual Property. The attached Exhibit B is Employee's list
                          describing all Intellectual Property made or developed by Employee prior to the
                          date of this Agreement, and that relate to Alliant's Business or proposed
                          Business products, services, or research and development, and that are not
                          assigned to Alliant by this Agreement (collectively "Retained Intellectual
                          Property'). Employee represents Exhibit B is a complete list of Employee's
                          Retained Intellectual Property. If no Retained Intellectual Property is listed in
                          this exhibit, then no Retained Intellectual Property exists, or such Retained
                          Intellectual Property has already been assigned to Alliant, or is being assigned to

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                          Alliant by this Agreement. If during the course of Employee's employment with
                          Alliant or its Affiliates, Employee incorporates into an Alliant product, process, or
                          machine any Retained Intellectual Property owned by Employee, or in which
                          Employee has an interest, Alliant is hereby granted and shall have a non-
                          exclusive, royalty-free, irrevocable, assignable, sub-licensable, perpetual,
                          worldwide license to make, have made, reproduce, modify, adapt, distribute,
                          display, perform, use, import, offer to sell, and sell such Retained Intellectual
                          Property as part of, or in connection with, such product, process, or machine.

                    (D)   Patent and Copyright Registrations. Employee agrees to assist Alliant or its
                          designee, at Alliant's expense, in securing Alliant's rights in and to the Company
                          Intellectual Property (including those assigned or arising by this Agreement) and
                          any copyrights, patents, trademarks, service marks, mask work rights, or other
                          similar intellectual property rights in any and all countries. Such assistance shall
                          include: the disclosure to Alliant of all pertinent information and data; and the
                          execution of all applications, specifications, oaths,, assignments, and
                          confirmatory assignments, and all other instruments Alliant deems necessary in
                          order to apply for and obtain such rights, and in order to assign and convey to
                          Alliant, its successors, assigns, and nominees or   confirm   assignment of the sole
                          and exclusive rights, title, and interest in and to such      Cmp:
                                                                                               Intellectual
                                                                                               ny




                          Property, and any copyrights, patents, trademarks, service marks, mask work
                          rights, or other intellectual property rights Meting thereto. Employee agrees that
                          Employee's obligation to execute or causeto be executed when it is in
                          Employee's power to do so, any such instrument or'papers continues after the
                          termination of Employee's employment, for whatever reason. If for any reason
                          Alliant is unable to obtain;             "signature to apply for or to pursue any
                                                             Employees




                          application for any United States or foreign intellectual property rights, including
                          patents or copyright registrations covering Company Intellectual Property or
                          original works of;a; uthorship<assigned to Alliant as provided by this Agreement,
                          then Employee hereby    i   revo  bly`designates and appoints Alliant, and its duly
                          authorized officers and agents, as Employee's agent and attorney-in-fact to act
                          for and on .Employee's behalf execute and file any such applications, and to
                                                                         to




                          do all other lawfully perm itted acts to further the prosecution and issuance of
                          such intellectual property rights, including letters patent, or copyright
                          registrations, with the same legal force and effect as if personally executed by
                          Employee. Employee hereby irrevocably assigns to Alliant any and all claims of
                          any nature that Employee now or hereafter has for past, present, or future
                          infciriement of all proprietary or intellectual property rights assigned to Alliant.

                    (E)   Maintenance of Records. Employee agrees to maintain adequate and current
                          writt n. 'records (in the form of notes, sketches, drawings, and any other form or
                          media requested by Alliant) on the development of all Company Intellectual
                          Property, and to disclose promptly to Alliant all Company Intellectual Property
                          and relevant records. The records will be available to and will remain Alliant's
                          sole property and intellectual property at all times. Employee further agrees that
                          all information and records pertaining to any idea, process, trademark, service
                          mark, invention, discovery, improvement, technology, computer program, original
                          work of authorship, design formula, discovery, patent, or copyright that
                          Employee does not believe to be Company Intellectual Property, but is
                          conceived, developed, or reduced to practice by Employee (alone or with others)
                          during the course of Employee's employment with Alliant will be promptly
                          disclosed to Alliant (such disclosure to be received in confidence).




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                       (F)        Exclusions. Employee knows of no existing agreement to which Employee is a
                                  party that would conflict with this Section 8(a)(ii). Employee acknowledges that
                                  Employee has been advised pursuant to Section 2872 of the California Labor
                                  Code that the provisions of this Agreement requiring the assignment of
                                  Company Intellectual Property do not apply to any invention that qualifies fully
                                  under any Section 2870 of the California Labor Code, which states:

                                     "Any provision in an employment agreement which provides that an
                                     employee shall assign, or offer to assign, any of his or her rights in an
                                     invention to his or her employer shall not apply to an invention that the
                                     employee developed entirely on his or her own time without using the
                                     employer's equipment, supplies, facilities, or trade secret information except
                                     for those inventions that either:

                                     (1)      Relate at the time of conception or reduction to practice of the
                                              invention to the employer's business, actual or demonstrably
                                                                                        or




                                              anticipated research or development cif the er toyer,, or

                                     (2)      Result from any work performed by the employee for'the employer."

                       (G)        Intellectual Property of Third Parties'.:;.;=iEmployee shalt<:not: directly or indirectly
                                  misappropriate, acquire, derive, use for the benefit of    ;;    to any premises of,
                                                                                                  bring




                                  divulge, disclose, communicate,; revel transfer or provide access to, or share
                                  with Alliant any trade secret or dther cc idenUal,proprietary, or non-public
                                  information or intellectual property resatng to a former employer or other third
                                  party without the prior written prr'n_i 6ion of such former employer or third party.
                                  Employee hereby indemnifies, ho'd ;harmless and agrees to defend Alliant and
                                  its officers, directors, partners, empldyees, agents, and representatives from any
                                  breach of the fore s  mg   covenant employee shall comply with all Applicable
                                  Law and all relevant            and guidelines of Alliant, including those regarding
                                                             policies




                                  the protection of tradeseeret confidential information, and intellectual property,
                                  and potential conflicts of interest. Employee acknowledges that Alliant may
                                  amend any such policies and guidelines from time-to-time, and that Employee
                                  remains at all times  bound   by their most current version.

           (b)

                 (i)   De ned he term ` I`rade Secret(s)" means all forms and types of financial and
                       in
                       bus g ss   information of Alliant that (a) has been the subject of reasonable measures to
                       protect its secrecy and (b) which derives independent economic value for Alliant,
                       actual or potential, from not being generally known to, and not being readily
                       ascertainable through proper means by, another person who can obtain economic
                       value from the disclosure or use of the information. "Trade Secrets" may include, but
                       are not limited to: Customer lists that contain specific, customized information about
                       customers (e.g., key contacts, specialized requirements, the habits, risk profiles,
                       programs, sales history and insurance needs and preferences of Customers or
                       Prospective Customers), expiration reports, records, sales reports, sales procedures,
                       financial information, pricing techniques, price lists, and information about past,
                       present, or pending or planned transactions of Alliant or its Affiliates; and/or information
                       that is regularly used in the operation of Alliant's business, including but not limited to
                       information concerning the cost, sources of supply, and methods of doing
                       business. Information that is readily ascertainable through public sources, such as the
                       identity, location, and contact information for past or present Customers, or
                       Prospective Customers, is excluded from the definition of Trade Secrets.

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               (ii)    Limited Use and Disclosure. Employee acknowledges that Trade Secrets are owned
                       by Alliant and regularly used in the operation of its business. Alliant and its Affiliates
                       take reasonable precautions to prevent Trade Secret dissemination to persons other
                       than certain directors, officers, and employees, and others who have a legitimate
                       business need to know the information in order to further the interests of Alliant and/or
                       its Affiliates, including by having Employee sign this Agreement and using password
                       protection on computers and computer networks. Employee acknowledges and agrees
                       that the Trade Secrets (A) are secret and not known in the industry; (B) give Alliant, its
                       subsidiaries, and/or Affiliates an advantage over competitors who do not know or use
                       the Trade Secrets; (C) are of such value and nature as to make it reasonable and
                       necessary to protect and preserve the confidentiality and secrecy of the Trade Secrets;
                       and (D) are valuable, special, and unique assets of Alliant and its Affiliates, the
                       disclosure of which could cause substantial injury, and loss of profits and goodwill to
                       Alliant and its Affiliates. Employee therefore agrees to hold Alliant's Trade Secrets in a
                       fiduciary capacity for the benefit of Alliant and its Affiliates,,.ad not misappropriate or
                       disclose or allow to be disclosed such Trade Secrets to anyindividual, corporation, or
                       other entity (other than persons engaged by Alliant to further its business interests).

               (iii)   Survival. Employee's duty not to misappropriate, improperly acquire, disclose, or use
                       Trade Secrets shall remain ongoing even after Employee is'ltto longer working for
                       Alliant, regardless of the reason for the separation of employment Employee
                       acknowledges that Employee's direct or,indirect <unauthorized;:acquisition by improper
                       means, disclosure, or use of Trade Secrets, would constitute misappropriation of such
                       information. This provision is intended to afford rights to Alliant and its Affiliates that
                       are in addition to, but not in lieu of, those rights they have under the common law or
                       applicable statutes for the protection of trade secrets or other proprietary or confidential
                       information, including California Civil Code!„section 3426.1(b).

               (iv)    Notice of Immunity under the Defend Trade Secrets Act. Notwithstanding any
                       other provision of thisAite elnt, an individual shall not be held criminally or civilly
                       liable under any federal ornate trade secret law for the disclosure of a trade secret
                       that is made in confidence to a;federal, state, or local government official, either
                       directly or indirectly, + rto an attorney; which was made solely for the purpose of
                       reporting or investigating a suspected violation of law; or which is made in a complaint
                       or other document filed in a lawsuit or other proceeding, if such filing is made under
                       seaL An individual who files a lawsuit for retaliation by an employer for reporting a
                       suspected„vlolat!pn of law may disclose the trade secret to the attorney of the
                       indi )du::., and use; the trade secret information in the court proceeding, if the individual
                       files any document containing the trade secret under seal; and does not disclose the
                       trade secret,;; except pursuant to court order.

           (c) Confidential Information.

               (i)     Defined. "Confidential Information" is construed to include information, in whatever
                       format (e.g., written, electronic, oral, etc.) that Alliant and/or its Affiliates considers a
                       Trade Secret, Personal Data (as defined below), proprietary or confidential and which
                       has been subject to reasonable measures to protect its confidentiality, or is required by
                       Law to be protected as confidential information. "Personal Data" means any
                       information that (A) either individually or when combined with other information, can be
                       used to identify a specific individual or derive information specific to a particular
                       individual and (B) is covered by applicable privacy Laws, including, but not limited to,
                       the General Data Protection Regulation ("GDPR"). Employee acknowledges that
                       Confidential Information may include, but is not limited to: any employee's personal
                       medical or health information; information relating to Alliant's business strategies,

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                       marketing and/or advertising, or pricing; information relating to past, current and
                       prospective clients, business partners or vendors (such as medical, loss history, policy
                       expiration dates, policy limits, insured assets or risks); or, any other information
                       protected by law.

               (ii)    Limitations on Use and Disclosure. Employee will not at any time (whether during
                       or after Employee's employment with Alliant): (A) retain or use Confidential Information
                       for Employee's own or any other person's or competitor's benefit, purposes, or
                       account; (B) misappropriate, disclose, divulge, reveal, communicate, share, transfer, or
                       provide access to Confidential Information to any person outside Alliant without the
                       prior written authorization of Alliant's board of directors, except to the extent necessary
                       to perform Employee's duties for Alliant and provided that any such disclosure is done
                       in accordance with Alliant's internal policies and procedures applicable to the use and
                       disclosure of Confidential Information; (C) process any Confidential Information except
                       at the direction of, and in accordance with the instructions provided by, Alliant; or (D)
                       disclose, divulge, reveal, communicate, share, transfer or provide access to
                       Confidential Information which includes Personal Data;t any AMant employee not
                       authorized to access such information without the prior written.authorization of Alliant's
                       board of directors.

               (iii)   Form and Exclusions. Confidential Information may be in art        rm, including but not
                       limited to: any intangible form such as unrecorded knowledge, information, ideas,
                       concepts, mental impressions; or maybe embodied In equipment or other tangible
                       form, such as a document, drawings, photographs, computer code, software, or other
                       printed or electronic media. Confidential Information does not include:

                       (A)   any item or data forming ?part,of the Confidential Information that is now in, or
                             later enters, the public domain other than as a consequence of unauthorized
                             and/or unlawful dkpJosure by   Employee   in breach of this Agreement;

                       (B)   any item or data forrrang"pert tf the Confidential Information that is lawfully
                             known b Employee without any obligation of confidentiality or other restriction
                             on use or disclosu:re prior to the provision of such information by Alliant;

                       (C)   any, item or data `that becomes available to Employee from a person who, to the
                             best of Employee's knowledge, is not prohibited from transmitting such
                             information by [,contractual, legal or fiduciary obligation to Alliant; or

                       (D)   ,any item o  data that was or is independently developed by Employee without
                             use.of::the Confidential Information.

               (iv)    Legal Process or Compulsion. Employee may release Confidential Information as
                       required to prosecute or defend any claim under this Agreement; provided however,
                       that Employee shall take all reasonable steps necessary to avoid publicly disclosing
                       Confidential Information, including filing documents and papers under seal. Employee
                       may disclose Confidential Information pursuant to a valid order of a court or
                       governmental agency with proper jurisdiction, or if such disclosure is required by law or
                       regulation; provided that the information is disclosed only to the minimum extent
                       necessary, and provided that, to the extent allowed by law, Employee shall give Alliant
                       sufficient advance notice so that it may seek a protective order or employ other lawful
                       means to avoid or limit disclosure.

           (d) Use of Company Property, Intellectual Property, Trade Secrets, and Confidential
               Information Following Separation of Employment. Upon separation of Employee's

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               employment with Alliant for any reason, Employee shall: (i) cease and not thereafter
               commence use of or process any Confidential Information or Intellectual Property (including
               without limitation, any patent, invention, copyright, Alliant Trade Secrets, trademark, trade
               name, logo, domain name or other source indicator) owned or used by Alliant, its
               subsidiaries or Affiliates; (ii) immediately return to Alliant, all originals and copies in any form
               or medium (including memoranda, books, papers, plans, computer files, letters, and other
               data) in Employee's possession or control (including any of the foregoing stored or located in
               Employee's office, home, laptop or other computer, whether or not Alliant property) that
               contain Confidential Information or Alliant Trade Secrets, except that Employee may retain
               only those portions of any personal notes, notebooks, and diaries that do not contain any
               Confidential Information or Alliant Trade Secrets; and (iii) notify and fully cooperate with
               Alliant regarding the delivery or destruction of any other Confidential Information or Alliant
               Trade Secrets of which Employee is or becomes aware. Nothing in this Section 8(d)
               precludes Employee from announcing a change of Employee's employment to Employee's
               customers or clients.

           01               ETIti1

               (i)    Customers. In order to protect Alliant's Trade Secrets anidiConfidentkal Information,
                      and consistent with Employee's agreements to act in good faith anf exclusively for the
                      benefit of Alliant, while employed by Alliant or>iany of its Affiliates, Employee shall not,
                      whether on Employee's own behalf or on behalf of                person., fi rm, partnership,
                      association, corporation or business organization "entity or enterprise (other than
                      Alliant or one of its Affiliates) solicit, or attempt to solicit Customers or Prospective
                      Customers on behalf of a Competing ,business, or induce or attempt to induce
                      Customers, Prospective Customers, or.,Sippliers of Alliant or any of its Affiliates, to
                      discontinue business with Alliant or any of its Affiliates, or knowingly to interfere with
                      the relationship between any Customer, Prospective Customer, or supplier, or any
                      other business relation ed Alliant or do r.,of its Affiliates.

               (ii)   Employees.

                      (A)   Employtl1erlt Period. While employed by Alliant or any of its Affiliates,
                            Employee shall not either directly or indirectly, except in the interest of Alliant or
                            any of its Affiliates, call on, solicit, or attempt to induce any other officer,
                            employee, or independent contractor of Alliant, or any of its Affiliates, to
                            terminate his or her employment or relationship with Alliant, or any such Affiliate,
                            and ishall not assist any other person or entity in such a solicitation (regardless of
                            whether any such officer, employee, or independent contractor would commit a
                            breach of contract by terminating his or her employment).
                      (B)   Post-Employment Restricted Period. During the Restricted Period, Employee
                            shall not, either directly or indirectly, call on, solicit, or attempt to induce any
                            person who is, or during the 12 month period immediately preceding the
                            beginning of the Restricted Period was, an officer, employee, or independent
                            contractor of Alliant, or any of its Affiliates, with whom Employee had contact or
                            made contact within the course of Employee's employment with Alliant or an
                            Affiliate of Alliant for the purpose of soliciting or servicing Customers in the 24-
                            month period immediately preceding the beginning of the Restricted Period, to
                            terminate his or her employment or relationship with Alliant, or any of its
                            Affiliates, and shall not assist any other person or entity in such a solicitation
                            (regardless of whether any such officer, employee, or independent contractor
                            would commit a breach of contract by terminating his or her employment).
                            Nothing in this Agreement prohibits Employee from hiring an individual who

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                              responds to a job posting made available to the general public so long as
                              Employee does not solicit or otherwise initiate such contact during the Restricted
                              Period.

                        (C)   Restricted Period Tolling. The Restricted Period shall be tolled during any
                              time period in which Employee is in breach of this Section 9(e)(ii). This provision
                              shall only be enforced to the extent allowed by Applicable Law.

                (iii)   Notwithstanding the above, the post-employment restrictions in this Section 9(e) shall
                        not apply to employees involuntarily terminated without Cause.

            (f) Reasonable and Continuing Obligations. Employee agrees that Employee's obligations
                under this Section 8 are obligations that: (i) will continue beyond the date Employee's
                employment terminates; (ii) are reasonable, fair, and equitable in scope, time, and duration;
                (iii) are necessary to protect Alliant's legitimate business interests and Confidential
                Information and Trade Secrets; and (iv) are a material inducement to Alliant to enter into this
                Agreement.

            (g) Scope of Covenants. Alliant and Employee acknowledge that the time, scope, geographic
                area, and other provisions of this Section 8 have been specifically negot►ated by
                sophisticated parties, and agree that they each cortader the restnctio 0:and covenants
                contained herein to be reasonable and necessary::;for the                      interests of Alliant
                and its Affiliates, but if any such restriction or covenant is held by any court of competent
                jurisdiction to be void, but would be valid if deleted in part or reduced in application, such
                restriction or covenant will apply with such deletion or modification as may be necessary to
                make it valid and enforceable.

        9. Remedy for Breach or Threatened Breath Employee acknowledges that the services to be
           rendered pursuant to this Agreement are of a special, unique, and extraordinary character, and
           that it would be difficult or imposs 1. 6 to replace such services or to compensate Alliant in
           monetary damages for a breach of the duty to provide the services under this Agreement. In
           addition, Employee acknowledges that Alliant'sremedies at law for a breach or threatened
           breach of any of the prove Eons of :Sections;2 or 8 would be inadequate, and Alliant would suffer
           irreparable damages as a result of such breach or threatened breach. Accordingly, Employee
           agrees that if Employee violates any provision of Sections 2 or 8, Alliant will be entitled to
           specific performance of these covenants, including entry of a temporary restraining order in state
           or federal court, preliminary and,,. permanent injunctive relief, an ex parte seizure order that is
           necessary to prevent the propagation or dissemination of Alliant Trade Secrets, or other
           appropriate judicial remedy, writ, or order. These equitable remedies are in addition to any other
           legal remedies, damages, and expenses that Alliant may be entitled to recover. Alliant agrees to
           give Employee and, if known, Employee's attorney, notice of any legal proceeding, including any
           application for a temporary restraining order, made pursuant to this section. Employee
           acknowledges that the covenants in Section 8 shall be construed as agreements independent of
           any other provision of this Agreement or any other agreement between Alliant and Employee,
           and such covenants shall be independently enforceable whether predicated upon this
           Agreement or any other agreement, and the invalidity of this Agreement or other agreement(s)
           shall not constitute a defense to the enforcement by Alliant of such covenants.

        10. No Conflict of Interest. During the period of Employee's employment, Employee must not
            engage in any work, paid or unpaid, that creates an actual, potential, or perceived conflict of
            interest with Alliant. This type of work will include, but is not limited to, directly or indirectly
            competing with Alliant in any way, or acting as an officer, director, employee, consultant,
            stockholder, volunteer, lender, or agent of any business enterprise of the same nature as, or that
            is in direct competition with, the Business or any other business in which Alliant is now engaged

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            or in which Alliant becomes engaged during the term of Employee's employment, as may be
            determined by Alliant in its sole discretion. If Alliant believes such a conflict exists, Alliant may
            ask Employee to choose to discontinue the other work or resign employment with Alliant, and
            may revoke the Separation Payment, if any, set forth in Exhibit E. In addition, during the term of
            Employee's employment, Employee agrees not to refer any Customer or Prospective Customer
            to a Competing Business without obtaining Alliant's prior written consent. The foregoing is not
            intended to restrict or prohibit Employee's ownership of stock or other securities of a publicly-
            held corporation in which Employee does not (a) possess beneficial ownership of more than 5%
            of the voting capital stock of such corporation, or (b) participate in any management or advisory
            capacity.

        11. Compliance with Orders, Judgments, and Injunctions. Employee represents and warrants to
            Alliant that the execution, delivery, and performance of this Agreement will not conflict with, nor
            result in the violation or breach of, any term or provision of any order, judgment, or injunction to
            which Employee is a party or by which Employee is bound including, ;without limitation, any
            order, judgment or injunction restricting the sale of products similar           products in any
                                                                                           ln'Alliant's




            geographic location or otherwise. Employee acknowledges thatAlliiant is relying on Employee's
            representation and warranty in entering into this Agreement, and    Employee   agrees to indemnify
            Alliant from and against all claims, demands, causes of action, damages, costs expenses           or




            (including reasonable attorneys' fees) arising from any breach of this"r re,,.* ration and
            warranty.                                                  ..°.                               .




        12. Indemnity and Assignment of Claims.                  "">                       ti p

            (a) Provided that Employee has complied wif' (I material terms of this Agreement and all
                Applicable Law, Alliant shall indemnify, hold IWp1oyee harmless, and provide Employee with
                a defense with respect to any civil clam, lawsuit, or other legal proceeding, including any and
                all damages, claims, fees, expenses, costs and charges, including reasonable attorneys'
                fees and court costs (collectUvly, "Claims") brought against Employee arising out of or
                related to the termination of  r ployee'semployment with Employee's latest employer
                preceding Employee's employment with Alliant ( "Former Employer"). References to
                Former Employer include any Affiliate of Former Employer with which Employee was
                employed immediately prior to the Effective Date. Notwithstanding the foregoing, Alliant
                shall have no indemnification obligations under this Agreement, or otherwise, with respect to
                any breach by Employeef 1=mployee's obligations to Former Employer with respect to its
                trade secret confidential, or proprietary information. Allegations by Employee's Former
                Employer are insufheie;nt without proof of same, to conclude that any such breach has
                occurred Alliant shall not take any action that would impair Employee's right to
                indemnification, other than in connection with a claim by Alliant that Employee is not entitled
                to indemnification in accordance with the standards set forth in this Section 12.

            (b) Alliant agrees to indemnify and provide Employee a defense with respect to any Claims
                brought against Employee as a result of any act or omission by Employee directly arising out
                of the discharge of Employee's duties for Alliant, or Employee's obedience to Alliant's
                directions, unless at the time of obeying such directions, Employee believed Alliant's
                directions to be unlawful. Employee expressly understands and agrees that, except as
                otherwise provided in this Agreement, Alliant is not obligated to indemnify or provide
                Employee a defense and Alliant may seek reimbursement or contribution from Employee for
                any judgment, award or attorneys' fees and costs incurred with respect to any Claims that
                are finally judicially determined to have resulted from Employee's unlawful conduct, or
                conduct occurring outside the course and scope of Employee's employment or duties for
                Alliant, and/or conduct occurring prior to the date of Employee's employment with Alliant, or
                after Employee's separation of employment with Alliant.



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           (c) Employee hereby confirms, represents, and warrants Employee has not misappropriated,
               improperly acquired, used, disclosed, or removed from Former Employer any materials or
               information of Former Employer that may reasonably be deemed trade secrets, confidential,
               or proprietary in nature without the advance permission of the Former Employer. Alliant's
               indemnity and defense obligations hereunder are conditioned upon this confirmation,
               representation, and warranty by Employee and adherence to the terms of this Agreement
               and Applicable Law. Employee further expressly understands and agrees that, with respect
               to its performance of its indemnity obligations under this Section 12, Alliant has the exclusive
               right to select counsel for Employee, make any decisions concerning settlement or other
               resolution of the matter, and otherwise control Employee's defense of Claims brought
               against Employee; provided, however, that in the event a conflict of interest exists between
               the Parties that cannot be resolved via mutual waivers, the Parties shall mutually select new,
               independent counsel to solely represent Employee at Alliant's expense.

           (d) In consideration of entering into this Agreement and Alliant's agreement to indemnify
               Employee for litigation expenses relating to the termination ofEmployee's employment with
               Employee's Former Employer pursuant to this Section 12, Employee agrees to assign and
               hereby assigns to Alliant all personal claims, rights, causes of;action and demands of
               whatever nature, whether known or unknown, Employee has or may have against
               Employee's Former Employer. Notwithstanding the above, Employee            does   not assign
               Employee's (i) rights, title, interest or obligations in teor under claims for  declaratory relief
               concerning Employee's own continuing obligations. to Employee's former employers, (ii)
               claims for unfair competition against Employee's former employars, or (iii) claims related to
               Employee's prior employment that cannot be assigned as        aka#ter   of law.

        13. Employment Arbitration Agreement.               hereby agree to be bound by the terms and
                                                           Parties




            conditions of the Employment Arbitration Aeement attached to this Agreement as Exhibit F.

        14. Miscellaneous.

           (a) Attorneys' Fees. Except as Oth.                in this Agreement, each side will bear its
               own attorneys fees in any dispute iinless n award of attorneys' fees to the prevailing party
               is authorized by Applicable Law

           (b) Governing Law; Venue. The validity, construction, enforcement, and performance of this
               Agreement        fi be governed by the Federal Arbitration Act and the laws of the United
                             't'a   :':




               States aridthe State of California, without regard for any conflicts of law analysis, and any
               claims for mtsapropriatiort of Alliant Trade Secrets may also be brought under the Defend
               Trade Secrets Act of 2016 (18 U.S.C. §§ 1831-1836). Except as otherwise covered by the
               Parties' agreement to arbitrate disputes as set forth in Exhibit F, each Party consents to the
               exclusive jurisdiction of the state and federal courts in California in any action, suit, or
               proceeding arising out of or relating to this Agreement, and Employee waives any objection
               to venue or on the grounds of forum non conveniens.

           (c) Severability. If an arbitrator or court of competent jurisdiction determines that a provision in
               this Agreement is unenforceable, that provision will be modified to the extent necessary to
               allow enforceability, as revised. If the arbitrator or court deems modification not legally
               permissible or practicable, the unenforceable provision will be deleted without impacting or
               diminishing the validity and enforceability of the remaining provisions.




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           (d) Amendment and Waiver. Except as otherwise provided herein, this Agreement may be
               amended or modified only by a writing executed by Employee and a member of Alliant's
               Executive Committee. No waiver by either Party of a breach of any provision of this
               Agreement shall be construed as a waiver of any subsequent or different breach, and no
               forbearance by a Party to seek a remedy for non-compliance or breach by the other Party
               shall be construed as a waiver of any right or remedy with respect to such non-compliance or
               breach.

           (e) Binding Effect. Alliant's rights and obligations under this Agreement will inure to the benefit
               of and will be binding upon its successors and assigns. Employee may not assign any of
               Employee's rights or obligations under this Agreement.

           (f) Notice. All notices, requests, and other communications given under this Agreement, must
               be in writing and deemed duly given: (i) when delivered personally to the recipient; (ii) one
               business day after being sent to the recipient by reputable overnight courier service (charges
               prepaid); or (iii) five business days after being sent by U.S. ce l'ed mail (charges prepaid).
               Except as otherwise provided herein or directed by a party in'writing,,all notices, requests or
               communications under this Agreement shall be addressed to he intended recipient as set
               forth below:

                       If to Alliant: Alliant Insurance Services, Ih ' ; 01 B Street, tr ?Floor, San Diego, CA
                       92101, marked "Attention: General CouC,sel.

                       If to Employee: To Employee's ni st recent address     forth in Alliant's personnel
                                                                               set




                       records, with a copy to Employees designed counsel, if any.

           (g) Cooperation. Employee shall provide Alliant with Employee's reasonable cooperation in
               connection with any action or proceeding ( !r any'appeal from any action or proceeding) that
               relates to events occurring during Employee's employment hereunder.

           (h) Interpretation; Construction. The headings contained in this Agreement are for reference
               purposes only and sh lt•not be used in interpreting this Agreement. Employee acknowledges
               that Employee has had         opportunity`to review and revise the Agreement and to seek
               independent legal advice from Employee's attorney(s), if desired. Therefore, any rule of
               construction that;:;construes %'mbiguities against the drafting party shall not be employed in
               the interpretation 'of this Agreement.

           (i) Entire Atreet rtt TF Agreement, together with its exhibits, all of which are expressly
               incorporated by referere as if fully set forth herein, comprise the only agreement and
               understanding between the Parties pertaining to this Agreement's subject matter and
               supersedes all      or simultaneous representations, discussions, negotiations and
                               prltrr




               agreements, whether written or oral, concerning Employee's employment with Alliant.

           (j) Survival. Except as otherwise provided in this Agreement, Sections 6 ("Eligibility for
               Separation Payment"), 7 ("Section 409A"), 8 ("Covenants by Employee"), 9 ("Remedy for
               Breach or Threatened Breach"), 11 ("Compliance with Orders, Judgments, and Injunctions"),
               12 ("Indemnity and Assignment of Claims"), 13 ("Employment Arbitration Agreement"), and
               14 ("Miscellaneous") will survive this Agreement's termination, regardless of the date, cause,
               or manner of such termination.




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                                                  M
         Printed Name: [FULL LEGAL NAME]          Title:




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CONFIDENTIAL                                                              TARANTINO_00000115
                                                                          TARANTINO_00000100
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                                                   Exhibit A to
                                              Employment Agreement

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           Definitions. In addition to the definitions set forth in the Agreement, the following definitions
           apply in this Exhibit A:

           (a) "Net Commissions and Fees" means gross commissions and fees, minus (i) return
               commissions and fees resulting from cancellations, rescissions or rebates; minus (ii) any co-
               or sub- brokerage commissions and fees, and general agent overrides to agents, brokers, or
               broker-dealers (regardless of affiliation); plus or minus (iii) commissions and fees resulting
               from audits; provided, however, that Net Commissions and Fees shall not include any
               interest income or any profit sharing, bonus, contingent, supplemental, override, or preferred
               brokerage commissions and fees.

           (b) "Small Lines" means any new or renewal Account that generates less than .$5,000 in
               annual Net Commissions and Fees.

           (c) "Split Code" means the customer code that deterM nes which producer(s) or other sales
               employee(s) will be eligible to receive commissions the Net Commissions and Fees for a
                                                                             on




               particular Customer or aparticularproduct line.

        2. Commissions.

           (a) Earning of Personal Commissions, . ::tthe tes set forth in the Personal Commission
               Schedule below, Employee will be eligibletQ earn acommission (`Personal
               Commission(s)") on the Net Commissions and Fees Alliant receives for new or renewal
               Business on Accounts for which Alliant designates Employee in the Split Code as a Vested
               Producer in accordance with company policy. In the event there is no specific vesting code
               assigned to an Account, that vesting will"b 'determined by the most recent commission split.
               The Personal Commas&ionon:an Account will be earned on the date that the Net
               Commissions and Fees. are r       j d y Alliant, subject to reconciliation against returned
               premiums that are attributable
                                         table to the Account, and provided that, to earn the Personal
               Commission., Employee must be employed by Alliant on the date that the Net Commissions
               and Fees are actually received by Alliant or have terminated employment with Alliant no
               earlier than 30 days prior to such date. Employee will not earn Personal Commissions on
               uncollected premiums, returned premiums, or on Business that is not accepted by Alliant and
               the appropriate insurance company or companies.

           (b) Personal Commission Schedule. Employee's Personal Commission rates will be as
               follows:



                      Product Line                 New Business Rate              Renewal Business Rate
                  Small Lines                               0.00%                          0.00%
                  P&C Commercial Lines                          %                          _._%
                  Surety                                    _._%                           _._%
                  Group Life/Health                         _._%                           _._%
                  Individual Life/Health                           %




                  Voluntary Benefits                        _._%                           _._%
        tAIhant
        Employment Agreement
        Exhibit A — Compensation                       Page 1 of 3




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                                                                                                     TARANTI NO_00000100
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           (c) Split Commissions. On Accounts where more than one producer or sales employee is
               identified in the Split Code, the commissions at the rates above will be divided among
               Employee and such other producer(s) as provided under (i) the prevailing Alliant Cross-
               Selling Policy, where applicable, or (ii) the specific percentage mutually agreed to in writing
               by all producers on that Account, subject to Alliant's final approval.

           (d) Reconciliation of Return Premiums. Employee understands and agrees that Employee
               has substantial duties that are unique to the insurance industry, including servicing
               Customers and Accounts throughout the policy periods to ensure Customer retention and to
               prevent the cancellation of Accounts and Business. Employee further understands and
               agrees that within the insurance industry, a commission carries with it an attendant obligation
               to refund a pro rata share of that commission if the premium is subsequently refunded to the
               insured. Employee expressly understands and agrees that commas'lions on return premiums
               shall be reconciled against Employee's future earned Personal Commissions at return
               commission rates, in accordance with the Personal Commiss(tt Schedule.

           (e) Personal Commission Accounting. Personal Commissions earned by the Employee in
               accordance with the terms and conditions of this Agreement will be recorded as an increase
               to an account established by Alliant to track such commissions (this account is the
               Employee's "Draw Account"). Alliant shall give„.Employee a Draw Account statement,
               which will include an accounting of all Personal Qommissions earned and payable to
               Employee, by the 15th day of each month for Business of ale seceding month.

           (f) Advances Against Commissions. ,Subject tpthe conditions outlined in this Section 4(f),
               Alliant will pay Employee an annual advance against Personal Commissions of
               f$             j ("Annual Draw"), payable on a bi weekly basis in accordance with Alliant's
               customary payroll practices and subject to all applicable withholdings. Each bi-weekly
               installment payment of the Annual Draw will be charged to Employee's Draw Account,
               provided that the total deficit balance of Employee to Alliant shall not exceed [$
               at any time during the first two years,, of this Agreement or an amount equal to one month's
               advance thereafter ("Maximum Draw Account Deficit"). Notwithstanding anything stated
               to the contrary in this Exhibit A, if, at ahy time, the total deficit balance in Employee's Draw
               Account exceeds the Nlax!mum Draw Account Deficit applicable at such time, Alliant shall
               not be obligated to pay Employee any further installment payments of the Annual Draw until
               such time as the Employee's total deficit balance is reduced below the then-applicable
               Maximum; Draw Account Deficit. Any deficit balance in the Draw Account will be carried to
               the next month and future Personal Commissions earned by Employee will be used to
               reconcile the deficit. If `Employee holds equity in Alliant Holdings, L.P., Alliant may also apply
               Employee's equity distributions and/or proceeds from equity repurchases to reduce
               Employee's deficit balance. In addition to a monthly reconciliation, on a quarterly basis, any
               deficit in Employee's Draw Account that exceeds the Maximum Draw Account Deficit shall be
               reconciled by such excess advances becoming immediately due and payable to Alliant,
               unless otherwise agreed in writing by Alliant. During periods where an excess reserve
               balance is achieved, Employee may draw on the excess balance. Any draws on the excess
               balance in Employee's Draw Account will be subject to applicable withholdings and Alliant's
               reserve policies.

           (g) Termination. Alliant will not pay any installments of the Annual Draw to Employee after
               either party gives notice of termination of Employee's employment. Upon the termination of
               employment for any reason, Employee will be paid all Personal Commissions earned as of
               the termination date. Employee will also receive Personal Commissions on Net Commissions
               and Fees received by Alliant during the first 30 days following the termination date, subject to

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        Employment Agreement
        Exhibit A — Compensation                      Page 2 of 3




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               commission earning provisions set forth above, and reconciliation against returned premiums
               and outstanding advances. If Employee is eligible for the "Separation Payment" pursuant to
               Exhibit E of the Agreement, Employee shall not be paid the Separation Payment during this
               30 day period. In no event shall Employee be eligible for commissions pursuant to this
               Exhibit A and also the Separation Payment pursuant to Exhibit E during the same period. All
               Personal Commissions and other payments paid to Employee will be less applicable
               withholdings.

           (h) Final Reconciliation of Draw Account. If there is any deficit in Employee's Draw Account
               upon the termination of employment, Employee shall be personally liable to Alliant for the
               deficit amount. In such event, any commissions due Employee as of the termination date
               shall be reconciled against the deficit amount and only the remaining balance due Employee,
               if any, shall be paid to Employee. Also, installment payments of the Separation Payment, if
               any, shall be used to reconcile the deficit before any installments    paid to Employee. If
                                                                                      :give




               there is any remaining deficit amount in the Draw Account after;;;such reconciliation efforts,
               Employee agrees to repay Alliant the entire deficit amount in 12'equal monthly payments,
               together with interest on unpaid amounts at the highest lawful rate then allowable, with the
               first payment due 30 days after being requested by Alliant.

        3. Modification. Alliant expressly reserves the right to mothfy Employee' compensation set forth
           in this Exhibit A at any time on a prospective basis. Modi' tions to this Exhibit A will become
           effective only upon advance written notice to Emôye anc!> 11`be yd med given if delivered in
           hard copy or electronic form.
                                                                         1 `\`` cg'
        SO AGREED:                                   .             : `


          [NAME]




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        Employment Agreement
        Exhibit A — Compensation                     Page 3 of 3




CONFIDENTIAL                                                                                     TARANTI NO_00000118
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                                                       Exhibit B to
                                                  Employment Agreement

                                  LIST OF RETAINED INTELLECTUAL PROPERTY

           The following is a list of all Intellectual Property that, as of Employee's start date of
           employment with Alliant, Employee has made or developed that relate in any way to any of
           Alliant's Business or proposed Business, products, services, or research and development,
           and that are not assigned to Alliant:

                 Title of Retained Intellectual             Date           Description of Retained
                           Property                                         Intellectual Property




           Except as indic       in this'<Exhibit B, Employee has no Intellectual Property to disclose
           pursuant to Se          .      of the Agreement.
                                       ;'>r




               EMPLOYEE:

               By:

               Printed Name: [NAME]




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           Employment Agreement
           Exhibit B — List of Retained Intellectual Property




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                                                  Exhibit C to
                                             Employment Agreement

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           All equity, regardless of type, is issued subject to consent by Alliant's Board of Directors,
           which will not be unreasonably withheld, and subject to tenure and performance
           requirements set forth in the governing documents effecting the issuance of equity. Any
           equity due upon hire, regardless of type, shall be issued within 120 days of the full execution
           of this Agreement. Unless otherwise indicated in the equity governing documents, vesting
           periods for all equity commence on the "Grant Date" defined in the governing documents. In
           the event there is any conflict between the terms of this Agreement and the equity governing
           documents, the equity governing documents will control with respect to the issuing and
           vesting of equity.

           1. Equity Awards. Upon hire, Employee will be eligible to receive         award of
              Class B Units in Alliant Holdings, L.P. ("Equity Award"). Thevesting of this Equity
              Award is subject to Employee meeting the Performance Criterion described below, as
              well as Alliant's standard vesting schedule that calls for 20% annually over a-five-year
              term. The "Performance Criterion" is Employee must achieve at`least
              in annualized revenue from Employee's Vested Accounts by the end ;;of; Employee's initial
                     months of employment. If Employee meets this ;;Performance Criterion, _0% of the
              Equity Award will cliff vest and the remaining _0% will vest in three equal installments
              over the next three years (i.e., the remainder of the five-year vesting period). If the
              Employee does not meet the Performance Criterion.100% € f the Equity Award will be
              forfeited.

               [l

           2. Leveraged Hire Incentive Plan                  Upon hire, Employee will receive
                                                             advance on the Plan Bonus (defined in
                                                            ised upon meeting the criteria described in
                                                            edule that calls for 20% annually over a five-




               Plant
           Employment Agreement
           Exhibit C — Equity




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      Introduction

       All definitions set forth in the Agreement and its exhibits apply in this Exhibit D.

       This Leveraged Hire Incentive Plan provides incentive compensation for Alliant's leveraged hire producers.
       Alliant's goal is to motivate employees to contribute to the successful achievement of its vision: "To emerge as
       the premier U.S. specialty broker by providing unparalleled service, expertise and risk solutions to its clients."

       Plan Summary

       Employee will be eligible to receive a "Plan Bonus" in an amount equal''    % of the annualized revenue
       from Employee's Vested Accounts as of Employee's        th month of aployment

       This Plan Bonus will be offset by any deficit balance Employee may carry art Employee's Draw Account at the
       time of the bonus's payment. The Plan Bonus will also be subject to all appl€ bl 'ithholdings. If Employee
       participates in Alliant's 401(k) plan, contributions will be withheld as applicable

       Upon hire, Employee will receive                   Class B Unit ("Advanced Units") in Alliant Holdings L.P. as an
       advance on the Plan Bonus. If the Plan Bonus is mo€ than ;the agregath value of these Class B Units (as set
       by the Board of Directors) at Employee's _th m*ith employment (`'Advanced Unit Value"), Alliant shall
       pay to Employee the difference in cash no later ;' ;;.an''         s after the calculation date and _0% of the
       Advanced Units will cliff vest and the remaining i!l>.0% 1t<vest in three equal annual installments over the next
       three years (i.e., the remainder of the five-year sti pe             ). If the Plan Bonus is less than the Advanced Unit
       Value, a portion of the Advanced Unity equal to this sh falf'will be forfeited, and only the portion remaining after
       such forfeiture will be eligible to vest with      % cliff vest rig and _0% vesting over the following three-year
       period. As an example, if Employees Plan Boru is $_________ and the Advanced Unit Value is $
       (________ Class B Units at an assumed $500 per unit),                           of the Advanced Units would be forfeited
       and only the                    rel irtrtlg units would be eligible to vest. '0% of those                 eligible units
       would cliff vest and the remainirt 0% would vest in three equal annual installments over the three years that
       follow.

        Eligibility Guidline
       To be eligible for thisNan Bonin,' Employee must be employed by Alliant with satisfactory performance and in
       good standing at the time the bonus payment is due.




       [NAME]


       Alliant Executive Representative




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             Employment Agreement
             Exhibit D — Leveraged Hire Incentive Plan



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                                                                                                        TARANTI NO_00000100
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                                                   Exhibit E to
                                              Employment Agreement
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                    In consideration of, and subject to, Employee satisfying all of the requirements set
           forth below, Alliant shall pay Employee the Separation Payment (defined in Section 3(a)
           below) in accordance with the terms of this Exhibit E.

           1. Definitions. All definitions set forth in the Agreement apply in this Exhibit E.

           2. Eligibility for Separation Payment. If Employee or Alliant terminates Employee's
              employment for any reason other than Employee's death, Total Disability, or for Cause,
              and Employee has not violated any of Employee's obligations under the Agreement, as
              determined in Alliant's sole discretion, Alliant shall pay Employee the Separation
              Payment in consideration of, and subject to, Employee satisfying all of the following
              conditions:

               (a) Employee shall fully comply with all surviving provisions of theAgreer        t as
                   specified in Section 14(i) of the Agreement entitled "Survival."

               (b) To the extent allowed by law, Employee sh lI timely sign a full; general release of
                   claims satisfactory to Alliant, releasing all daims, known or unknown, that Employee
                   may have against Alliant arising out of or in any tray related to Employee's
                   employment or the termination of that amploment and Employee shall not revoke
                   this general release during the r      patI period stated in the general release.

               (c) During the Pay-Out Period (defined in Setion 3(c) below), without further
                   compensation other than the Separation Payment, Employee shall cooperate and
                   assist Alliant in retaining transferring, and fransitioning all Vested Accounts if
                   requested to do so by Alliant

           3. Separation Payment,and V         ttng Determinations.

               (a) For the fire 130 days folowing Employee's termination date, commissions will be paid
                   to Employee pursuant to the termination provisions of Exhibit A. Thereafter, the
                   Separation Pa'ym t will be payable to Employee during the remainder of the Pay-
                   Out Period. The "Separation Payment"will be equal to 50% of the commissions
                   that would have been payable to Employee on Vested Accounts (after accounting for
                   splits amore producers on Vested Accounts pursuant to the Split Codes) if Employee
                   were employed by Alliant during the remainder of the Pay-Out Period. The
                   Separation Payment will be paid only on Net Commissions and Fees that Alliant
                   actually receives during the Pay-Out Period on Employee's Vested Accounts. Alliant
                   retains the right to offset any Separation Payment by the amount owed to Alliant by
                   Employee for any debts or liabilities. If several former producers are receiving
                   Separation Payments based on the same Vested Account, in no event shall Alliant
                   pay them, in the aggregate, more than 50% of the commissions that would be paid to
                   them on that Account, in the aggregate, if those producers were employed during the
                   Pay-Out Period. The Separation Payment will be less applicable withholdings and
                   will paid to Employee in monthly installments, according to Alliant's customary payroll
                   practices.

               (b) If, during the Pay-Out Period, Employee violates or does not meet any of the
                   requirements of Section 2 of Exhibit E, Alliant may, at its option and in its sole
               Aisne
           Employment Agreement
           Exhibit E — Separation Payments                 Page 1 of 2



CONFIDENTIAL                                                                                            TARANTINO_00000122
                                                                                                         TARANTI NO_00000100
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                      discretion, immediately cease paying Employee all future installments of the
                      Separation Payment, and no further payments shall be due to Employee. Nothing in
                      this section shall interfere with any other remedies that may be available to Alliant,
                      including, but not limited to, injunctive relief for breaches or threatened breaches of
                      the Agreement.

                (c) Pay-Out Period. The "Pay-Out Period" will be the one-, two-, three-, or four-year
                    period immediately following the termination date of Employee's employment, the
                    exact length of which will be determined based on Employee's completed years of
                    employment at Alliant, as shown in this table:

                                    Full Years of Employment                   Pay-Out Period (Years
                                           Completed                           Immediately Following
                                                                                 Termination D'te)
                                                   1                                     1 :
                                                   2                                    2
                                                   3                                        ;
                                                   4                                     4

                      For example, if, as of Employee's effective date ;.termination, Employee was
                      employed by Alliant for 18 consecutive months, the Pay-Out Period would be the
                      one-year period immediately following Employes termination date.

                      As another example, if, as of            effective date of termination, Employee
                                                            Employes




                      was employed by Alliant for six consecutive years, the Pay-Out Period would be the
                      four-year period immediately folliwn Employee's termination date.

                      Nothing in this Exhibit Es                              ;,,as providing Employee with vested or
                      earned benefits during           en                       benefits described herein exist solely in
                      exchange for Employee's                               I conditions set forth in Section 2 of this
                      Fxhihit F

           4. Transfer of Vesting.

                (a) A Vested "Producer       recommend to Alliant that the servicing and/or vesting on
                                             may




                    any Account during the Vested Producer's term of active employment be transferred
                    to anther producer, subject to Alliant's approval of the proposed transfer. Where
                    there are multiple Vested Producers, all Vested Producers must agree to any
                    recommendedtransfer in writing prior to recommending the transfer to Alliant. Post-
                    employment. Alliant shall select, in its sole discretion, a servicing producer for each
                    Account.

                (b) If a servicing producer is assigned to an Account for which a former producer, who is
                    no longer employed with Alliant, is the Vested Producer, and the servicing producer
                    retains the Account through two consecutive renewal periods and until the Pay-Out
                    Period has expired, then the servicing producer will be eligible to be designated as
                    the Vested Producer on that Account, subject to Alliant's approval.
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               [NAME]



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           Employment Agreement
           Exhibit E — Separation Payments                             Page 2 of 2




CONFIDENTIAL                                                                                                      TARANTINO_00000123
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           C. WAIVER OF CLASS ACTION. All claims brought under thts; inding
              Arbitration Agreement shall be brought in the individuatçaacity of the
              Employee or Alliant. This binding ArbitratiQlt Agreemen shall not be
              construed to allow or permit the consohd lol          Joinder of other claims                                                        ur




              or controversies involving any other emplyees,            ermit such claims
              or controversies to proceed as a clads Otion, collective action, private
              attorney general action, or any s!mife tpresentative action. No
              arbitrator shall have the author'        de is Arbitration Agreement to
              order any such class or ]arese :.ai€ :.ac'lion. Any dispute regarding
              the scope or enforceab < ''`Of          rbitration Agreement shall be
              resolved by a court, not bte         t4trator. By signing this Arbitration
              Agreement, Empl             gre       waive any substantive or procedural
                                                                     ye




              rights that Employee my have to bring an action on a class, collective,
              private            gen  atc
                                          act, representative or other similar basis. If,
                                                            y




              under       licable.ia " a representativeprivate attorney general act
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              claim     ouidI
                            is        Waivable and such an action is pursued in court,
              Employee' nd All fit agree that any such claim will be severed and
              stayed pent          solution of claims that are arbitrable.        [Initial]
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           Employment Agreement
           Exhibit F — Employment Arbitration Agreement




CONFIDENTIAL                                                                                                                                                                                            TARANTINO_00000125
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               Thant
           Employment Agreement
           Exhibit F - Employment Arbitration Agreement




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               [NAME]



               Thant
           Employment Agreement
           Exhibit F — Employment Arbitration Agreement




CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                                TARANTINO_00000127
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                   Exhibit 84

 Exhibit Filed Under Seal
